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                              EXHIBIT EE


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                       Incarceration’s Front Door:
                                       The Misuse of Jails in America
                                       FEBRUARY 2015 (UPDATED 7/29/15)
CENTER ON SENTENCING AND CORRECTIONS




                                       Ram Subramanian • Ruth Delaney • Stephen Roberts • Nancy Fishman • Peggy McGarry
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                               FROM THE PRESIDENT

                               Incarceration’s Front Door addresses what is arguably one of the chief drivers of difficulty in
                               our troubled criminal justice system: jails.

                               The report’s encyclopedic examination of jail use—who’s in jail and the myriad paths lead-
                               ing there—is meant to inform. But it should also unnerve and incite us to action. As Vera’s
                               president, I observe injustice routinely. Nonetheless even I—as this report came together—
                               was jolted by the extent to which unconvicted people in this country are held in jail simply
                               because they are too poor to pay what it costs to get out. I was startled by the numbers
                               of people detained for behavior that stems primarily from mental illness, homelessness, or
                               addiction. I was dismayed by how even a brief stay in jail can be destructive to individuals,
                               their families, and entire communities. And I’ve been at this work for a while now.

                               I suspect that many readers will come to this report thinking that jail is reserved only for
                               those too dangerous to be released while awaiting trial or those deemed likely to flee rather
                               than face prosecution. Indeed, jails are necessary for some people. Yet too often we see
                               ordinary people, some even our neighbors, held for minor violations such as driving with
                               a suspended license, public intoxication, or shoplifting because they cannot afford bail as
                               low as $500. Single parents may lose custody of their children, sole wage-earners in families,
                               their jobs—while all of us, the taxpayers, pay for them to stay in jail.

                               Incarceration’s Front Door reviews the research and interrogates the data from a wide range
                               of sources to open a window on the widespread misuse of jails in America. It also draws on
                               Vera’s long experience in the field and examples from jurisdictions of different sizes and
                               compositions to suggest how the negative consequences of this misuse can be mitigated.
                               Indeed, this report marks a bittersweet homecoming for Vera as our very first project was
                               The Manhattan Bail Project, which showed that many, if not most, people accused of com-
                               mitting a crime can be relied on to appear in court without having to post bail or be held
                               until trial. The lessons we learned and shared in 1961 have not stuck nearly enough.

                               As the report makes clear, jails are all around us—in nearly every town and city. Yet too few
                               of us know who’s there or why they are there or what can be done to improve them. I hope
                               that Incarceration’s Front Door provides the critical insight to inspire you to find out more.




                               Nicholas Turner
                               President and Director
                               Vera Institute of Justice




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                                          Gateway to the criminal
                                          justice system
                                          Though there is hardly a town without one or a big city without several, jails
                                          are rarely on the radar of most Americans. There are more than 3,000 jails in
                                          the United States, holding 731,000 people on any given day—more than the
                                          population of Detroit and nearly as many people as live in San Francisco.1 This
                                          number, high as it may be, is only a one-day snapshot. In the course of a typical
                                          year, there are nearly 12 million jail admissions—equivalent to the populations
                                          of Los Angeles and New York City combined and nearly 19 times the annual
                                          admissions to state and federal prisons.2 Although in common parlance jails are
                                          often confused with prisons—the state or federal institutions where most of
                                          those convicted of crimes and given a sentence of imprisonment are sent—jails
                                          are locally run facilities, primarily holding people arrested but not yet convict-
                                          ed, and are the place where most people land immediately following arrest.
                                          Jails are the gateway to the formal criminal justice system in a country that
                                          holds more people in custody than any other country on the planet.3
                                            Intended to house only those deemed to be a danger to society or a flight risk
                                          before trial, jails have become massive warehouses primarily for those too poor to
                                          post even low bail or too sick for existing community resources to manage. Most
                                          jail inmates—three out of five people—are legally presumed innocent, awaiting


                                          Locked up: Annual admissions

                                          Jails have a much broader reach than prisons. Although state and federal
                                          prisons hold about twice the number of people on any given day than jails do,
                                          jails have almost 19 times the number of annual admissions than prisons do.




                                                       Local jails                 State & federal prisons
                                                     11,700,000                             631,000

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trial or resolution of their cases through plea negotiation in facilities that are     Figure 1: Convicted
often overcrowded, noisy, and chaotic.4 (See Figure 1.) While jails do hold people     and unconvicted jail
accused of serious, violent crimes, nearly 75 percent of the population of both
                                                                                       inmates, 2013
sentenced offenders and pretrial detainees are in jail for nonviolent traffic, prop-
erty, drug, or public order offenses.5 In New York City, nearly 50 percent of cases
which resulted in some jail time were for misdemeanors or lesser charges.6 In Los
Angeles County, a study of the jail system in 2008 by the Vera Institute of Justice
(Vera) found that the single largest group booked into the jail consisted of people
charged with traffic and vehicular offenses.7
   Although most defendants admitted to jail over the course of a year are                                       38% Convicted
released within hours or days, rather than weeks or months, even a short stay
in jail is more than an inconvenience. Being detained is often the beginning of            62% Unconvicted
a journey through the criminal justice system that can take many wrong turns.
Just a few days in jail can increase the likelihood of a sentence of incarceration
and the harshness of that sentence, reduce economic viability, promote future
criminal behavior, and worsen the health of those who enter—making jail a
                                                                                       Source: Todd D. Minton and Daniela Golinelli,
gateway to deeper and more lasting involvement in the criminal justice sys-            Jail Inmates at Midyear 2013 - Statistical Tables.
tem at considerable costs to the people involved and to society at large. These        (Washington, DC: U.S. Department of Justice,
                                                                                       Office of Justice Programs, Bureau of Justice
costs are also borne by their families and communities, depressing economies,          Statistics, 2014), appendix table 3, p. 11
contributing to increased crime, and breaking familial and social bonds. For the
disproportionately high number of those who enter jails from minority com-
munities, or who suffer from mental illness, addiction, and homelessness, time
spent in jail exacerbates already difficult conditions and puts many on a cycle
of incarceration from which it is extremely difficult to break free.
  Recent criminal justice reform efforts have focused in the main on reducing
the number of people in state prisons.8 Prompted by ballooning state correc-
tions budgets and a plummeting crime rate, policymakers across the political
spectrum have been willing to re-examine the punitive policies that relied on
incarceration as a principal crime control strategy.9 This new policy environ-
ment has also been encouraged and buoyed by consistent public opinion polls
that show most Americans support alternatives to incarceration—particularly
for nonviolent offenses—and research demonstrating that certain types of
law-breakers can be safely and more effectively supervised in the community.10
  Given the complex role jails play in compounding the manifold negative
consequences of mass incarceration in America—well acknowledged today on
both sides of the aisle—local policymakers and their constituents interested in
reducing recidivism, improving public safety, and promoting stronger, health-
ier communities might do well to take a hard look at how the jail in their city
or county is used. To help foster public debate and action by public officials,
this report offers an overview of the nation’s misuse of jails. It examines the
characteristics of the people who typically cycle in and out of jails; some of the
key policies that contributed to the rise in the use of jail; and the impact of jail
incarceration on individuals, families, and communities. It also looks at key
decision points where strategies can be adopted to decrease the misuse of jails
within the American criminal justice system.



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                                              WHAT IS A JAIL?

                                              The history of jails in English-speaking countries, including
                                              America, can be traced back to twelfth-century England during
                                              the reign of King Henry II who ordered their construction and
                                              placed them under the control of the crown’s local government representa-
                                              tive, the county sheriff. Their primary purpose was to detain people awaiting
                                              trial and those convicted but awaiting punishment. The earliest reference to
                                              jails in the United States is to the construction of a “people pen” in 1632 in
                                              prerevolutionary Boston. Mirroring the brutal British penal codes and practic-
                                              es of the day, the dominant form of criminal punishment in colonial America
                                              was corporal—with serious crimes punishable by death, physical mutilation,
                                              branding, or whipping, and lesser offenses by public ridicule and humiliation
                                              through the use of the stocks, the pillory, the public cage, or the ducking stool.
                                              But with the conversion of Philadelphia’s Walnut Street Jail into the country’s
                                              first penitentiary in 1790—as part of penal reform championed by the Quak-
                                              ers—incarceration as punishment soon became the default response for seri-
                                              ous law-breaking and with it the modern prison system was born.a

                                              Today jails are, with few exceptions, municipal or county-level confinement
                                              facilities that are administered by local law enforcement agencies or depart-
                                              ments of correction.b Like their historical antecedents they are used to detain
                                              people awaiting trial who are deemed a flight risk or a danger to public safe-
                                              ty. But many also house a range of other people caught up in the criminal
                                              system as described below. Jails range in size from small “lock-ups” that
                                              hold no more than a handful of people to networks of facilities, such as the
                                              eight jails in Los Angeles County that house approximately 20,000 inmates.c
                                              Their costs are mainly paid for by a municipality or county with reimburse-
                                              ments sometimes coming from the state or federal governments.

                                              Unlike state prisons, which almost exclusively hold people serving state
                                              sentences, jail populations are heterogeneous, making them particularly
                                              challenging to manage.

                                              Jails may house:

                                                >>Pretrial detainees held from the time they are arrested until they
                                                  post bail, are released on their own recognizance or to some form of
                                                  pretrial community supervision, or until the cases against them are
                                                  settled by trial or plea.
                                                >>Locally sentenced inmates convicted of minor crimes for which they
                                                  have received short custodial sentences, typically a year or less but
                                                  longer in some states.d
                                                >>State sentenced inmates convicted of more serious crimes await-
                                                  ing transfer to a state prison or assigned to serve their sentence in a




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         local facility due to prison overcrowding. Local jurisdictions are paid
         to house these overflow inmates. This latter trend is most significant
         in California, where the state department of correction is under court
         order to reduce crowding in prisons.e
       >>Apprehended probation violators who are either awaiting a hearing
         on an alleged violation of the terms of their supervision in the commu-
         nity, or serving the remainder of their sentence in local confinement.
       >>Apprehended parole violators awaiting a hearing on an alleged
         violation or transfer back to state prison.
       >>Pretrial federal detainees awaiting trial on federal charges, in juris-
         dictions where no federal detention beds are available. Local jurisdic-
         tions are paid to house these inmates.
       >>Apprehended pretrial or sentenced inmates from other jurisdic-
         tions awaiting transfer or housed at the jail due to unavailability of
         beds in the other state or local jurisdiction.
       >>Immigration and Customs Enforcement (ICE) detainees held at the
         request of the U.S. government pending adjudication of immigration
         violations or deportation. Local jurisdictions are paid to house these
         inmates.
   a
     For a brief overview of the history of jails, see http://law.jrank.org/pages/1399/Jails-Histori-
   cal-perspective.html.
   b
     Six states—Alaska, Connecticut, Delaware, Hawaii, Rhode Island, and Vermont—do not have
   locally-run jails and instead run unified correctional systems, meaning that both prisons and jails
   are under the jurisdiction of the state’s Department of Corrections. See Barbara Krauth, A Review
   of the Jail Function within State Unified Corrections Systems (1997), 2, http://static.nicic.gov/
   Library/014024.pdf, p. 2.
   c
     Vera Institute of Justice, Los Angeles County Jail Overcrowding Reduction Project, (New York:
   NY: Vera Institute of Justice, 2011), i.
   d
     Individuals sentenced to a jail rather than a prison sentence are usually convicted of a mis-
   demeanor—a low-level criminal offense that typically has no more than a maximum custodial
   sentence of a year. Some states, such as Texas, allow jail sentences for certain felony offenders
   (known as “state jail felonies”), while in other states, such as Pennsylvania, certain types of misde-
   meanors expose individuals to incarceration of more than one year.
   e
     See Brown v. Plata, 131 S.Ct. 1910 (2011).




Decades of growth
By every measure, the scale at which jails operate has grown dramatically over
the past three decades. The number of annual admissions nearly doubled, from
six million in 1983 to 11.7 million in 2013.11 While there are no national data on
how many unique individuals these admissions represent, data from Chicago
and New York City suggest that a small minority is responsible for upwards of
one-half of all admissions to jail—that is, some people return to jail over and
over. In Chicago, 21 percent of the people admitted to jail between 2007 and
2011 accounted for 50 percent of all admissions.12 In New York City, from 2008



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                                          through mid-year 2013, just shy of 500 people were admitted to jail 18 times
                                          or more, accounting for more than 10,000 jail admissions and 300,000 days
                                          in jail.13 The number of people in jail on any given day has also climbed—from
                                          224,000 people in 1983 to 731,000 in 2013, the latest year for which data are
                                          available.14

                                          Jail’s revolving door in New York City, 2008 - 2013



                                                                      473 people were admitted
                                                                      to jail 18 times or more:
                                                                      > 85% charged with misdemeanor or violation
                                                                      > 21% had a serious mental illness
                                                                      > 99.4% had a substance use disorder




                                                                      Accounting for
                                                                      more than
                                                                      10,000
                                                                      jail admissions




                                       2008–2013
                                   ✘✘✘✘✘✘✘                            and more than
                                   ✘✘✘✘✘✘✘                            300,000
                                   ✘✘✘✘✘✘✘                            days in jail
                                   ✘✘✘✘✘✘✘
                                   ✘✘


                                            The rate of confinement (that is, the proportion of the population in jail at any
                                          one time) also rose markedly over roughly the same time: increasing from 96
                                          per 100,000 U.S. residents in 1983 to a peak of 259 per 100,000 in 2007.15 The rate
                                          has since declined to 231 per 100,000 in 2013.16 This growth in the confinement
                                          rate continued for years after crime rates started to decline (see Figure 2.) Both



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Figure 2: Crime and jail rates per 100,000
         6000                                                                                            300
                                                  Key: Jail Property Crime Violent Crime
         5000                                                                                            250

         4000                                                                                            200
CRIME




         3000                                                                                            150




                                                                                                                 JAIL
         2000                                                                                            100

         1000                                                                                            50


           0                                                                                             0
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                  2011
                  2012
Source: For jail rates, see Craig A. Perkins, James J. Stephan, and Allen J. Beck, Jails and Jail Inmates: 1993-94.
(Washington, DC: U.S. Department of Justice, Office of Justice Programs, Bureau of Justice Statistics, 1995); Allen
J. Beck and Jennifer C. Karberg, Prison and Jail Inmates at Midyear 2000. (Washington, DC: U.S. Department
of Justice, Office of Justice Programs, Bureau of Justice Statistics, 2001); Todd D. Minton and Daniela Golinelli,
Jail Inmates at Midyear 2013 - Statistical Tables. (Washington, DC: U.S. Department of Justice, Office of Justice
Programs, Bureau of Justice Statistics, 2014); and for crime rates, see Uniform Crime Reporting Statistics - UCR Data
Online at http://www.ucrdatatool.gov/.



violent and property crime rates peaked in 1991 and have been declining steadi-
ly ever since—nationally, violent crime is down 49 percent from its highest
point more than 20 years ago and property crime is down 44 percent.17
   While the country has continued to grow safer—at least by the most com-
mon measures of public safety—an ever-larger proportion of the population is
being sent to jail, though re-
search demonstrates that there is     Figure 3: Drug arrests, 1981–2012
little causal connection between
                                              2M                                                                                         800
improved public safety and an
increased use of incarceration.18           1.8M                          Total arrests                                                  700
Notably, much of this growth in             1.6M
                                                                                                                                         600
jail use tracks the rise of drug                        1.4M
                                              ARRESTS




crime enforcement. From 1981                                                                                      Arrest rate            500
                                                        1.2M
until 2006, when they peaked,
                                                                                                               (per 100,000)                   R AT E
                                                         1M                                                                              400
total drug arrests more than
                                                        800K                                                                             300
tripled, from 560,000 to 1.9 mil-
lion, and the drug arrest rate (per                     600K
                                                                                                                                         200
100,000) grew 160 percent. The                          400K
share of people in jail accused                         200K                                                                             100
or convicted of a drug crime                               0                                                                             0
increased sharply in the 1980s,
                                                               1981
                                                               1982
                                                               1983
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                                                               2011
                                                               2012




                                              Source: Howard N. Snyder, and Joseph Mulako-Wangota, Bureau of Justice Statistics.
                                              With underlying data from the FBI’s Uniform Crime Reporting (UCR) Program, the information
                                              presented in this figure was generated using the Arrest Data Analysis Tool at www.bjs.gov.



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                                           Figure 4: Drug defendants and inmates as share of
                                           jail populations



                                                                       9%                               25%




                                                                     1983                              2002
                                           Source: For the 1983 drug share, see Allen J. Beck, Profile of Jail Inmates, 1989 (Washington,
                                           DC: US Department of Justice, Office of Justice Programs, Bureau of Justice Statistics, 1991);
                                           and for 2002, see Doris J. James, Profile of Jail Inmates, 2002 (Washington, DC: US Department
                                           of Justice, Office of Justice Programs, Bureau of Justice Statistics, 2004).



                                           from nine percent in 1983 to 23 percent in 1989, and has hovered there ever
                                           since (see Figures 3 and 4).19
                                             Not only are more people ending up in jail, those who get there are spending
                                           more time behind bars. The length of stay increased from an average of 14 days
                                           in 1983 to 23 days in 2013.20 Although the national data on length of stay do not
                                           distinguish between those held pretrial and those sentenced to a term in jail,
                                           this increase is nevertheless a significant and worrisome trend. Moreover, since
                                           the proportion of jail inmates that are being held pretrial has grown substan-
                                           tially in the last thirty years—from about 40 to 62 percent—it is highly likely
                                           that the increase in the average length of stay is largely driven by longer stays
                                           in jails by people who are unconvicted of any crime.



                                           Length of stay in jails

                                           Average length of stay in days has been increasing over the past 30 years.



                                                              1983                                           2013
                                                  ✘✘✘✘✘✘✘                                        ✘✘✘✘✘✘✘
                                                  ✘✘✘✘✘✘✘                                        ✘✘✘✘✘✘✘
                                                                                                 ✘✘✘✘✘✘✘
                                                                                                 ✘✘

                                                             14 DAYS                                        23 DAYS


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   ABOUT THE DATA

   Wherever possible, the authors of this report support their
   analysis of the current state of jails in the United States with
   reference to the latest available national data—most of which are collect-
   ed by the U.S. Department of Justice’s Bureau of Justice Statistics (BJS).
   The BJS releases jail reports with statistical tables annually as part of its
   Prison and Jail Inmates at Midyear series. These reports include data on
   jail capacities, population counts, and demographic breakdowns. They do
   not, however, include more detailed data on such topics as the severity of
   charges or the prevalence of mental health issues. The last time the BJS
   released data on these topics was in 2002 in its Survey of Inmates in Local
   Jails, a detailed survey of a sample of nationally representative jail inmates.
   These surveys were conducted in five-to-seven year intervals from 1972
   through 2002, but have not been conducted since. This report includes
   figures from the latest survey where the survey’s findings are still relevant
   and more recent figures are not available. The authors also draw attention
   to data from local jurisdictions when doing so can illuminate an issue or a
   notable trend.




Portrait of the jailed
While jails still serve their historical purpose of detaining those awaiting trial
or sentencing who are either a danger to public safety or a flight risk, they have
come to hold many who are neither. Underlying the behavior that lands some-
one in jail, there is often a history of substance abuse, mental
illness, poverty, failure in school, and victimization. Sixty-eight    Figure 5: Racial disparities
percent of people in jail have a history of abusing drugs, al-
cohol, or both.21 Forty-seven percent of jail inmates have not
graduated from high school or passed the General Educational
Development (GED) test.22
   Nationally, African Americans are jailed at almost four times            47.2%             35.8%             62.6%           13.2%
the rate of white Americans.23 Despite making up only 13 per-
cent of the U.S. population, African Americans account for 36
percent of the jail population (see Figure 5).24 Locally, disparities
can be even starker: in New York City, for example, blacks are
jailed at nearly 12 times the rate of whites and Latinos more
than five times the rate of whites.25
   Among the many disadvantaged people in jails, the largest               WHITE            BLACK               WHITE BLACK
group by far is people with a mental illness. Jails have been de-
scribed as the “treatment of last resort” for those who are men-       Source: Todd D. Minton and Daniela Golinelli, Jail Inmates at
                                                                       Midyear 2013 - Statistical Tables (Washington, DC: US Department
tally ill and as “de facto mental hospitals” because they fill the
                                                                       of Justice, Office of Justice Programs, Bureau of Justice Statistics,
vacuum created by the shuttering of state psychiatric hospitals        2014) and United States Census Bureau of the Census “QuickFacts.”




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                                                          and other efforts to deinstitutionalize people with serious mental
                                                          illness during the 1970s, which occurred without creating adequate
                                                          resources to care for those displaced in the community.26
                                                             Serious mental illness, which includes bipolar disorder, schizophre-
                                                          nia, and major depression, affects an estimated 14.5 percent of men
Mental illness and substance                              and 31 percent of women in jails—rates that are four to six times high-
                                                          er than in the general population.27 According to the BJS, 60 percent of
use disorders in jails
                                                          jail inmates reported having had symptoms of a mental health disor-
                                                          der in the prior twelve months.28 People with serious mental illnesses
                                                          are often poor, homeless, and likely to have co-occurring substance use
                                                          disorders and, thus when untreated, are far more prone to the kinds
                                                          of public order offenses and minor crimes that have been the focus of
     14.5%       31%            3.2%        4.9%          law enforcement in recent years and have helped swell jail popula-
                                                          tions. 29
                                                             The prevalence of people with mental illness in jail is at odds with
                                                          the design, operation, and resources in most jails. Characterized by
                                                          constant noise, bright lights, an ever-changing population, and an
                                                          atmosphere of threat and violence, most jails are unlikely to offer
                                                          any respite for people with mental illness. Coupled with the near-ab-
             Serious mental illnesses
                                                          sence of mental health treatment, time in jail is likely to mean
                                                          further deterioration in their illness. According to the latest available
                                                          data, 83 percent of jail inmates with mental illness did not receive
                                                          mental health care after admission.30 The lack of treatment in a cha-
                                                          otic environment contributes to a worsening state of illness and is a
                                                          major reason why those with mental illness in jail are more likely to
               72% of                                     be placed in solitary confinement, either as punishment for breaking
               people in                                  rules or for their own protection since they are also more likely to be
               jail with a serious                        victimized.31
               mental illness also
                                                            While most people with serious mental illness in jails, both men and
               have a substance
               use disorder.                              women, enter jail charged with minor, nonviolent crimes, they end up
                                                          staying in jail for longer periods of time. In Los Angeles, for example,
                                                          Vera found that users of the Department of Mental Health’s services
                                                          on average spent more than twice as much time in custody than did
                                                          the general custodial population—43 days and 18 days respectively.32
                               68%
                              all jail
                             inmates
                                                          Costs and consequences
                                                          The growth of jails has been costly in many ways, contributing little,
                                                          if at all, to the enhancement of public safety. From 1982 to 2011, local
                 9%
               general                                    expenditures on corrections—largely building and running jails—in-
              population                                  creased nearly 235 percent.33 The increasing direct costs of operating
                                                          jails, however, are matched by the indirect costs and consequences of
                                                          jailing people who do not need to be there or holding them for lon-
Diagnosable substance use disorders                       ger than necessary. These consequences—in lost wages, worsening



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   BEYOND MENTAL ILLNESS

   For people with mental illness in jail, their illness is often
   at the center of several interrelated problems. A BJS study
   published in 2006—the most recent national study of its kind—showed
   that people with mental illness in jail are more likely than others to experi-
   ence homelessness, unemployment, and substance abuse.a

       >>Seventeen percent of people with mental illness in jail were homeless
         in the year before their arrest, compared to nine percent of the rest of
         the jail population.
       >>Nearly a third of the people in jail with mental illness were unem-
         ployed in the month before arrest, compared to less than a quarter of
         the rest of the jail population.
       >>Thirty-four percent of people with mental illness in jail were using
         drugs at the time of their arrest compared to 20 percent of the rest of
         the jail population. Fifteen percent of people with mental illness were
         using both drugs and alcohol at the time of their arrest compared to
         seven percent of the rest of the jail population.
   a
    Doris J. James and Lauren Glaze, Mental Health Problems of Prison and Jail Inmates (Washington,
   DC: US Department of Justice, Office of Justice Programs, Bureau of Justice Statistics, 2006), p.4.




physical and mental health, possible loss of custody of children, a job, or a place
to live—harm those incarcerated and, by extension, their families and com-
munities. Ultimately, these consequences are corrosive and costly for everyone
because no matter how disadvantaged people are when they enter jail, they are
likely to emerge with their lives further destabilized and, therefore, less able to
be healthy, contributing members of society.34
   Of the more than $60 billion spent annually on correctional institutions, $22.2
billion, or about one third, is spent by local jurisdictions.35 Even this figure fails
to capture the true costs of jails to local jurisdictions, as money spent on jails—
for pension plans for staff for example, or healthcare for inmates—often comes
out of the budget of non-correctional agencies. Cities and counties have to cover
most costs themselves, drawing on the same pool of tax revenue that supports
schools, transportation, and an array of other public services.36




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Figure 6: Pretrial detention and sentencing                                  WORSE CASE OUTCOMES AND
                                                                             DECREASED PUBLIC SAFETY
Compared to low-risk defendants released prior to trial,
those detained before trial were…                                            Recent research supported by the Laura and John
      …more likely to                        …more likely to                 Arnold Foundation on people held in jail pending the
      receive a sentence                     be given a longer               resolution of the charge(s) against them (commonly
      of imprisonment                        prison sentence                 referred to as “pretrial detention”)—with data drawn
                                                                             from counties in two states in different parts of the
                                                                             country—has reignited interest in pretrial policies
                                                                             and practices. Researchers found that even a relatively
             4x                                      3x                      short period in jail pretrial—as few as two days—cor-
         more likely                                longer                   relates with negative outcomes for defendants and for
                                                                             public safety when compared to those defendants re-
                                                                             leased within 24 hours. While results varied by length
                                                                             of detention and risk level, in virtually every catego-
                                                                             ry, those detained were more likely to be rearrested
                                                                             before trial, to receive a sentence of imprisonment,
Source: Christopher Lowenkamp, Marie VanNostrand, and Alexander              to be given a longer term of imprisonment, and to re-
M. Holsinger, Investigating the Impact of Pretrial Detention on Sentencing
Outcomes (New York: The Laura and John Arnold Foundation, 2013).             cidivate after sentence completion (see Figures 6 and
                                                                             7). The probabilities were especially high for low-risk
                                                                             individuals and for those held for their entire pretrial
Figure 7: Pretrial detention and reoffending                                 period and remained true even when researchers con-
                                                                             trolled for relevant factors including risk level, super-
Compared to low-risk defendants held for no more than
24 hours, those held for 8-14 days were...                                   vision status, offense type, offense level, time at risk in
                                                                             the community, demographics, and other factors.37
     …more likely                         …more likely to
     to be rearrested                     recidivate after                      Earlier research had noted that those held pretri-
     before trial                         sentence completion                al may be more likely to receive custodial as well as
                                                                             longer sentences because defendants already in jail
                                                                             receive and accept less favorable plea agreements and
                                                                             do not have the leverage to press for better ones.38 In
         56%                                      51%                        the Arnold Foundation study, however, the harsher
                                                                             sentences held even for those detained for only a few
                                                                             days (and who, therefore, did have the freedom to hold
                                                                             out for a more favorable offer from prosecutors). For
                                                                             the much smaller number of defendants who go to
                                                                             trial, research has found that jurors tend to view de-
                                                                             fendants brought to court in jail uniforms and shack-
Source: Christopher Lowenkamp, Marie VanNostrand, and Alexander M.           les as guilty regardless of the merits of the case.39 For
Holsinger, The Hidden Costs of Pretrial Detentions.                          policymakers interested in reducing incarceration at
(New York: The Laura and John Arnold Foundation, 2013).
                                                                             both the state and local levels, this research has major
                                                                             implications: reducing detention, especially for low-
                                                                             and medium-risk defendants, can help reduce incar-
                                                                             ceration by lowering recidivism and prison terms.




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DIFFERENTIAL RACIAL IMPACT

Community-level consequences of incarceration are most evident in African
American and Latino communities whose members are disproportionately rep-
resented in jails across the country. While blacks and Latinos combined make
up 30 percent of the general population, they are 51 percent of the jail popula-
tion.40 This disparity is caused by myriad and interconnected factors, including
policing practices that concentrate law enforcement activities in low-income,
minority communities, combined with the socio-economic disadvantages
experienced by residents in those neighborhoods.41 Black males, in particular,
are arrested at a younger age and at higher rates than their white counterparts,
often giving them a longer “rap” sheet regardless of the charges or the eventual
dispositions of the cases.42 Schools in minority neighborhoods are more likely to
have law enforcement officers on site and to embrace “zero tolerance” policies.43
“Stop, question, and frisk” policies have been shown to target young men of
color, especially black men.44 Black men are also more likely to be arrested for
drug crimes despite similar rates of use when compared to whites.45 With arrest
records on file at earlier ages, subsequent contacts with police result in more
severe case outcomes as these young men come of age.46
  Black men are also disproportionately held pretrial as a result of an inability
to post monetary bail. Although their bail amounts are similar to bail amounts
set for whites, black men appear to be caught in a cycle of disadvantage.
Because they are incarcerated at higher rates they are more likely to be unem-
ployed and/or in debt, resulting in more trouble posting bail.47
  Moreover, these disparities persist at sentencing. Black men in the state
and federal justice systems tend to receive longer sentences than their white
counterparts convicted of similar crimes—differences that become more pro-
nounced as the severity of sentences increase.48

ACCUMULATION OF CRIMINAL JUSTICE DEBT
Many jails, courts, and other criminal justice agencies charge for the services
they provide, including jails that charge for clothing and laundry, room and
board, medical care, rehabilitative programming, and even core functions such
as booking.49 In addition, most jails have contracts with private telephone and
video conferencing companies that charge higher rates to inmates than they do
in the community.50 While each individual fee may be small, they add up. Some
people have been required to pay thousands of dollars in fines and fees.51 Even
when jurisdictions offer payment plans, they often include surcharges and
other fees.52 Add to this child support payments, credit card debt, rent, and other
living expenses that can accumulate during incarceration—often with late
charges or compounded interested tacked on—the financial picture for many
leaving jail is very bleak.
   Moreover, fees may continue to accrue after release. If convicted, an individu-
al may be ordered to pay restitution; if sentenced to probation or court-ordered
programming or treatment, a person may also have to pay supervision fees plus



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                                            the programming costs.53 For many, these payments are impossible to make:
                                            people who spend more than a few days in jail, and who often work at low-
                                            wage jobs to begin with, risk losing their jobs and may find getting new ones
                                            extremely challenging, especially if they have supervision and programming
                                            obligations that interfere with the work day.54 This, in turn, increases their vul-
                                            nerability to being incarcerated again. In Florida, for example, agencies expect
                                            to collect only nine percent of fines and fees assessed.55
                                              Although debtors prisons were formerly abolished in the United States
                                            almost two hundred years ago, many people today are returned to jail for
                                            non-payment of fines and fees.56 Although the use of incarceration for failure
                                            to pay a debt is unconstitutional absent evidence that a person willfully refuses
                                            despite an ability to pay (and that alternative punitive measures are unavail-
                                            able), there are no specific guidelines for how judges should evaluate a defen-
                                            dant’s ability to pay, resulting in both inconsistency in the application of this
                                            rule, and a risk that people are returned to custody simply for being poor. 57
                                              According to one study that examined prison and jail incarceration together,
                                            individuals who do manage to find work after release earn less on average than
                                            their counterparts who have never been incarcerated.58 Among formerly incar-
                                            cerated men in that study—two-thirds of whom were employed before being
                                            incarcerated—hourly wages decreased by 11 percent, annual employment by
                                            nine weeks, and annual earnings by 40 percent as a result of time spent in jail
                                            or prison (See Figure 8.)



                                       Figure 8: Incarceration reduces earnings power
                                       Estimated effect of incarceration on male wages, weeks worked annually,
                                       and annual earnings, predicted at age 45




                                                                                    48 weeks
                                        $16.33/hr
                                                          $14.57/hr                                 39 weeks                    $39,100



                                                                                                                                               $23,500




                                           If Not             Post-                   If Not            Post-                    If Not            Post-
                                        Incarcerated      Incarceration            Incarcerated     Incarceration             Incarcerated     Incarceration

                                                  WAGES                               WEEKS WORKED                            ANNUAL EARNINGS

                                      Source: The Pew Charitable Trusts, Collateral Costs: Incarceration’s Effect on Economic Mobility (Washington, DC:
                                      The Pew Charitable Trusts, 2010).




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  Public benefit programs may not be able to help. For those who were receiv-
ing or were eligible for benefits like food stamps or Medicaid, a jail stay can
cause a suspension or termination of that support.59 Suspended benefits can be
more easily restarted upon release, whereas terminated benefits can take years
to reinstate.60 Even a short gap in benefits, however, can have serious conse-
quences for the large number of people leaving jail who have debt, little or no
income from work, and may also have a chronic illness—an end result that is
particularly disproportionate when people are accused of non-serious offenses,
such as a traffic or ordinance violation.
  Housing can also be a challenge for people jailed for even a short period of
time. Those in debt may find it impossible to afford market-rate housing, and,
much like employers, many landlords are unwilling to rent to someone with
a criminal record (of arrest or conviction or both). Staying with family mem-
bers can also be problematic, especially if they live in public housing as many
local public housing authorities ban, at least temporarily, those with a criminal
record.61 A survey in Baltimore found that people who have spent time in jail or
prison are much less likely to hold a lease or mortgage after release than they
were prior to being confined.62 Another study showed that people are far more
likely to become homeless for some period following release from jail, even
when the charges are dismissed.63

DECLINING HEALTH

Given high levels of need and the constant churning of their population, most
jails struggle to deliver health care that meets minimally accepted standards of
care in the community. This is particularly critical as people in jail report high
rates of medical problems.64 Moreover, conditions in jail—especially crowding
and poor sanitation—can be especially harmful to the many in custody with
chronic health problems, particularly mental illness, and facilitate the spread
of contagious diseases.65 The greater prevalence of contagious diseases in jails
affects both the families and communities to which those incarcerated there re-
turn.66 Since most people do not stay in jail for very long, it is difficult to provide
them adequate care while incarcerated or to connect them to treatment in the
community upon release.67 Lack of continuity of care is likely a large part of the
reason why people with mental illness tend to cycle in and out of jail.

HARM TO FAMILIES AND COMMUNITIES

Families and communities also suffer from the misuse of jails. For families, the
consequences are manifold—financial, structural, and emotional. Communities
where rates of incarceration are high tend to experience declines in social and
economic well-being as well as in public safety.68
  Families face considerable financial consequences when a member goes to
jail. They may have to pool limited family resources to post bail or to pay for jail
telephone calls and other services, and they may experience a loss of income or
housing when the incarcerated person was the primary earner or leaseholder.



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                                              To some degree, every family— regardless of socio-economic circumstances—
                                           is temporarily broken apart when a member is jailed, with the consequences
                                           most pronounced when the jailed person has children. In particular, when
                                           mothers go to jail, their children are more likely to experience a change in care-
                                           giver or to enter foster care.69 A study of mothers in Illinois’ Cook County Jail
                                           found that those whose children entered foster care upon their incarceration
                                           were half as likely to reunite with their children upon release when compared
                                           to non-incarcerated mothers with children in foster care.70
                                              Jails can make conditions in already struggling communities worse. Jail ad-
                                           missions tend to be concentrated in neighborhoods with elevated rates of pov-
                                           erty, crime, and racial segregation, and low rates of educational attainment and
                                           employment—and which are also often heavily policed.71 In turn, high rates of
                                           incarceration further destabilize these communities, often leading to increased
                                           rates of crime and even higher levels of police enforcement.72



                                           Six key decision points that
                                           influence the use and size of jails
                                           Although there is new appetite for reducing America’s reliance on incarcer-
                                           ation, scaling back jail populations will be a complicated task. How and why
                                           so many people cycle through jails is the result of decisions dispersed among
                                           largely autonomous system actors—which together make up one system of
                                           incarceration. These include the police who choose to arrest, release, or book
                                           people into jail; prosecutors who determine whether to charge or divert arrest-
                                           ed persons; pretrial services program providers who make custody and release
                                           recommendations; judges, magistrates, or bail commissioners who decide
                                           whom to detain or release, and under what conditions; other court actors, from
                                           attorneys and judges to administrators, whose action or inaction can accelerate
                                           or delay pending cases; and community corrections agencies who choose how
                                           and when to respond to persons who violate their conditions of supervision
How and why so                             in the community. Release and detention decisions may also depend on the
                                           existence of critical community services that can provide the supports needed
many people cycle                          to keep people charged with crimes out of custody.
                                              Given that all of these actors may be driven by contradictory goals or incen-
through jails is the                       tives and may operate with varying degrees of knowledge of, or enthusiasm for,
                                           alternatives to jail incarceration, it can be very difficult to align or coordinate
result of decisions                        their efforts to ensure that jails are used only when absolutely necessary to
                                           serve the public good. But it’s not impossible.
dispersed among                               New York City provides a good example of how changes in local system
                                           practices across agencies can work in concert to reduce the number of people
largely autonomous                         in custody. New York substantially decreased its jail and prison (as well as
                                           community corrections) populations between 2000 and 2009, primarily as a
system actors.                             result of changes in policy and practice around arrest and the use of alterna-



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tives to incarceration and other diversion programs, requiring in tandem policy
changes across the police department, the courts, and district attorneys’ offices.
Throughout that period, the crime rate in the city continued to fall.73
   Because jail admissions and length of stay—the two main determinants of
jail populations—are a function of decisions made by multiple criminal justice
system actors at the local level, opportunities can and do arise along the trajec-
tory of a typical individual case to prevent a person from going to jail unneces-
sarily or to release him or her as soon as safely possible. However, in practice,
seizing the opportunity at any given point can be challenging and will require
some coordination among system actors since their actions in large part de-
pend on information provided or action taken by others in the system.


   DIAGNOSING LOS ANGELES COUNTY’S
   OVERCROWDED JAILS
   “Bigger and more expensive jails aren’t the only solution,”
   noted a 2012 Los Angeles Times editorial titled “LA County
   Jails: What’s the Fix?”a The editorial drew on Vera’s analysis
   of Los Angeles County jails and the systems that fill them.
   Los Angeles County is the largest county in the United States, and it also
   operates the largest jail system. Eight jails are fed by 88 municipalities with
   47 law enforcement agencies, and more than 30 courthouses with more
   than 400 judges. In 2009, the Los Angeles County Chief Executive Office
   and its Criminal Justice Coordination Committee contracted with Vera to
   study persistent overcrowding in the jails and make recommendations for
   safely and efficiently alleviating it.

   Understanding this complex operation and the problem of overcrowding
   began with an analysis of administrative data from nine agencies involving
   the 800,000 cases booked into the county jail system in 2007 and 2008.
   Vera reviewed policies, procedures, and practices from the agencies that
   influence the size of the jail population (including police departments, the
   courts, the prosecutor and public defender offices, the probation depart-
   ment, the state corrections and parole agencies, and the L.A. County Sher-
   iff’s Department), convened focus groups and meetings and conducted
   more than 100 confidential interviews.

   Over the course of two years, researchers matched information from the
   nine major databases to track the progress of more than 54,000 cases from
   arrest to disposition within that time frame. The study analyzed the flow of
   people into and out of jail and through the court process. Through analysis
   of individual cases and large administrative data sets, the researchers cre-
   ated profiles of typical offenders and identified trends in jail usage. Their
   analysis also revealed key decision points that influence the size of the jail
   population, as well as bottlenecks that cause delays that keep people in jail
   longer than necessary.



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                                               On the basis of this analysis, Vera issued a final report to the county that
                                               reviewed the issues and challenges identified and made 39 recommenda-
                                               tions—that ranged from pretrial screening and bail schedules to the inte-
                                               gration of key databases—to reduce jail crowding and improve the effec-
                                               tiveness of the justice system.b In particular, the report detailed the many
                                               obstacles to effective responses to people with mental illness caught up in
                                               the criminal justice system and the lack of diversion options.
                                               a
                                                 Editorial Board, “L.A. County’s broken jails: What’s the fix?” Los Angeles Times,
                                               January 30, 2012.
                                               b
                                                 Vera Institute of Justice, Los Angeles County Jail Overcrowding Reduction Project: Final Report
                                               (New York, NY: Vera Institute of Justice, 2011).




                                             Six key decision points—arrest, charge, pretrial release/bail, case processing,
                                           disposition and sentencing, and supervision and reentry—are explored in the
                                           sections that follow through an analysis of who is involved, what typically hap-
                                           pens, and what could happen otherwise to reduce jail incarceration through the
                                           implementation of strategic reforms.

                                           ARREST

                                           Arrest is a person’s entry point into the criminal justice system. An incident oc-
                                           curs and law enforcement—the police or sheriff’s department—is called to the
                                           scene, or there is an interaction with or observation by law enforcement in the
                                           course of regular duties, such as a traffic stop or a street encounter.
                                             What happens at arrest is an important determinant of the flow and num-
                                           ber of accused persons who enter jail. The police have several choices when
                                           responding to reported or observed criminal activity. They decide whether to
                                           decline intervention; whether an arrest, summons, or verbal warning is war-
                                           ranted; or whether to refer an individual to services outside the criminal justice
                                           system, such as community mental health or substance abuse programs. Even
                                           when a police officer feels that circumstances justify an arrest, that decision
Even when a police                         does not have to open the door to jail. Under most state laws, the officer may
                                           take the suspect to the station house to be photographed and fingerprinted and
officer feels that                         where a more detailed background check can be completed.74 Where available,
                                           computers in cars or hand-held tablets allow police officers to conduct some of
circumstances                              these procedures in the field. Law enforcement can then release the defendant
                                           using a “notice-to-appear” or “desk appearance” ticket to secure a promise from
justify an arrest,                         the person to appear in court when required. 75
                                             How the police make an arrest decision is influenced by a number of in-
that decision does                         tersecting factors and dynamics on a precinct, departmental, local, state, and
                                           federal level. While state and federal laws define what constitutes a criminal
not have to open the                       offense, local political pressures, policy decisions, and departmental priorities
                                           will play a larger role in how and when police resources are used and where
door to jail.                              they are deployed. In some jurisdictions, pressure from public officials—often



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responding to the concerns of residents and businesses to combat low-level,
quality-of-life offenses (see “Broken Windows Policing” on page 21.) —has led
to zero-tolerance policing policies that may also require arresting anyone who
breaks the law. This may increase the number of misdemeanor or non-criminal
arrests (ordinance violations) for drug possession, vagrancy, loitering, and other
public order offenses. Meanwhile, political or community pressures may deter-
mine which neighborhoods to target, how and when line officers are deployed,
and which arrest protocols to follow, including whether pre-arrest (e.g., cite and
release) or post-arrest (e.g., the provision of an appearance ticket at the police
precinct) diversion options are available for certain types of offenses.
   Other important dynamics on the department and community level may also
be at play. Some police departments institute informal or formal arrest quotas
or targets and link performance evaluations and career advancement to compli-
ance with them.76 These policies have been the subject of extensive litigation, so
it is difficult to estimate how prevalent they remain. In some cash-strapped mu-
nicipalities, police officers understand that they need to make more arrests in
order to raise revenue through fines, fees, and asset forfeiture—as has been the
focus of some press coverage in the wake of recent events in Ferguson, Missou-
ri.77 On the other hand, police departments in resource-poor neighborhoods may



   BROKEN WINDOWS POLICING

   Published in the Atlantic Monthly in 1982, George Kelling
   and James Q. Wilson’s essay titled “Broken Windows”
   has had a large and lasting influence on police strategy
   around the nation.a In it the authors argued that quali-
   ty-of-life offenses, such as graffiti or public intoxication, can give residents
   the impression that neighborhood crime is on the rise, causing residents to
   become fearful, avoid public areas, and lose trust in local law enforcement.
   The authors also suggested that criminals may become emboldened by this
   decay, which they may perceive as a marker of an apathetic community and
   an ineffective police force, leading to an increase in serious crime. Kelling
   and Wilson posited “broken windows” as an evocative metaphor of the dis-
   array that may ensue: “If a window in a building is broken and is left unre-
   paired, all the rest of the windows will soon be broken.”

   The broken windows theory was zealously adopted by police forces around
   the country in the 1990s and early 2000s. Quality-of-life and low-level of-
   fenses or infractions were targeted through zero-tolerance and stop-and-
   frisk policies as a way of preventing more serious crime from flourishing.b
   In 1994, New York City Police Commissioner William Bratton implemented
   broken windows policing which resulted in a steep increase in misdemean-
   or marijuana arrests—from 1,851 arrests in 1994 to more than 50,000 in
   2000, a 2,760% increase.c




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                                               Despite the ubiquity of this approach, there is little evidence that broken win-
                                               dows policing is effective at reducing overall crime.d An exhaustive review of
                                               research by the National Research Council concluded that there is not strong
                                               evidence that aggressively responding to minor offenses, particularly with ar-
                                               rest, effectively reduces or prevents more serious crime.e Furthermore, critics
                                               argue that these types of policies often target low-income, minority communi-
                                               ties and are, therefore, applied inequitably.

                                               It is worth noting that Kelling and Wilson did not argue explicitly for more
                                               arrests of disorderly community members. Instead, they suggested that police
                                               officers should help uphold social norms in the communities they serve by
                                               reducing public nuisances, such as redirecting an intoxicated loiterer to a less
                                               public area of town. As originally formulated, their theory supports increased
                                               interactions with residents, but not necessarily increased arrests or citations.
                                               In an interview in 2015, Kelling explained, “Broken windows is a tactic, an es-
                                               sential part of community policing, that works with the community to identify
                                               problems and set priorities...We don’t want police to just be making arrests.”f
                                               a
                                                 George L. Kelling and James Q. Wilson, “Broken Windows,” Atlantic Monthly (March 1, 1982).
                                               b
                                                 Bernard E. Harcourt and Jens Ludwig, “Broken Windows: New Evidence from New York City and a
                                               Five-City Social Experiment,” University of Chicago Law Review 73 (2006): 271-319.
                                               c
                                                 Bernard E. Harcourt and Jens Ludwig, “Reefer Madness: Broken Windows Policing and Misdemean-
                                               or Marijuana Arrests in New York City, 1989-2000,” University of Chicago Public Law & Legal Theory
                                               Working Paper 142 (2006) and Andrew Golub, Bruce D. Johnson, and Eloise Dunlap, “The Race/
                                               Ethnicity Disparity in Misdemeanor Marijuana Arrests in New York City,” Criminology & Public Policy 6,
                                               no. 1 (2007): 131-164.
                                               d
                                                 See Bernard E. Harcourt and Jens Ledwig, “Broken Windows,” edited by Wesley Skogan and
                                               Kathleen Frdyl, in Fairness and Effectiveness in Policing: The Evidence (Washington, DC: National
                                               Academy of Sciences, 2004); Jeffrey Fagan and Garth Davies, “Street Stops and Broken Win-
                                               dows: Terry, Race, and Disorder in New York City,” Fordham Urban Law Journal 28, no. 2 (2000):
                                               457-504; and Center for Evidence-Based Crime Policy, George Mason University “Broken Win-
                                               dows Policing,” http://cebcp.org/evidence-based-policing/what-works-in-policing/research-evi-
                                               dence-review/broken-windows-policing/
                                               e
                                                 See for example, Skogan and Frdyl, 2004.
                                               f
                                                 Patt Morison, “’Broken Windows’ Policing Isn’t Broken, Says Criminologist George L. Kelling,” Los
                                               Angeles Times, January 6, 2015.




                                           have no other option but to arrest and jail when responding to certain types of
                                           people—those who are intoxicated, mentally ill, or drug addicted—because of
                                           a lack of partnerships with community-based treatment and triage centers, or
                                           because such community resources simply do not exist.
                                              The likelihood that arrest will lead to a jail booking has increased steadily
                                           over the years. Thirty years ago, when crime rates overall were higher, there
                                           were 51 admissions into jail for every 100 arrests.78 By 2012, the most recent year
                                           for which national data are available, that number had climbed to 95 admis-
                                           sions per 100 arrests.79 While not all admissions come from arrests—warrants
                                           for people suspected of parole and probation violations, for example, provide
                                           another route to jail—the growth in admissions even as arrest rates have
                                           declined reflects changing policies rather than growth in more serious crimes
                                           by high-risk individuals. According to an analysis of 17 state courts, nearly 78



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Thirty-year trends: Arrest and booking rates per 100,000

Even as arrest rates have decreased sharply—tracking crime rates—bookings into jail have continued to grow.
In 1983 there were only half as many bookings as arrests while in 2012 bookings nearly matched arrests,
suggesting a greater propensity to hold many who in earlier times would have been released.


  6000                                                               6000


                   Arrests


  3000                                                               3000
                                                                                                       Jail
                                                                                              s   into
                                                                                          king
                                                                                      Boo

  1000                                                               1000




         1983                                  2012                         1983                                   2012




percent of all cases in which a district attorney files charges involve people ac-
cused of misdemeanor crimes; and in some jurisdictions such as New York City,
many of these are for minor drug offenses.80 Drug crimes are the only offenses
for which the arrest rate continued to increase throughout the 1990s and into
the new century.81




    POLICING DIFFERENTLY:
    ALTERNATIVES TO ARREST
    AND DETENTION

    Citation and release. The New Orleans
    Police Department is just one among many
    law enforcement agencies that is relying
    more on citation and release. In the summer of 2008, the city council enacted
    an ordinance mandating the use of a summons rather than arrest when police
    encounter people who commit a municipal offense other than domestic violence.
    From 2009 through 2011, the use of summonses in cases other than domestic vio-
    lence and public intoxication increased from 41 percent to more than 70 percent.
    Arrests correspondingly dropped from 59 percent to 30 percent.a This change in
    approach not only conserves costly jail beds, it is also an enormous time-saver for
    officers, allowing them to focus on serious public safety concerns.




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                                               Pre-booking diversion programs. The Law Enforcement Assisted Di-
                                               version (LEAD) Program in King County, Washington, identifies people
                                               arrested for lower-level drug and prostitution offenses and diverts them
                                               away from the criminal justice system and into community-based services.b
                                               When police-initiated diversion programs like this are effective, they yield
                                               benefits all around—for individuals, their families, and communities—and
                                               reserve expensive criminal justice system resources for more serious cases.

                                               Programs for offenders with behavioral health issues. Every police officer
                                               in Portland, Oregon, receives training in how to respond to a suspect who
                                               appears to suffer from mental illness or is under the influence of drugs or al-
                                               cohol.c Beyond basic training, the department established a special corps of
                                               officers who volunteer and receive more intensive training to focus on calls
                                               for service involving unstable people. The department is also involved in
                                               prevention, running a Mobile Crisis Unit that pairs an officer with a licensed
                                               mental health professional who can connect people with appropriate men-
                                               tal health services in the community. And for people whose mental illness
                                               or substance use disorder is driving their repeated encounters with law en-
                                               forcement—typically as suspects in drug or property crimes—the depart-
                                               ment participates in a Service Coordination Team that offers treatment in
                                               lieu of detention. Between 2008 and 2010, the team saved the county nearly
                                               $16 million in jail costs alone. The work in Portland reflects an emerging trend
                                               nationally in which police departments are forging innovative and powerful
                                               partnerships with local mental health service providers.
                                               a
                                                 Criminal Justice Leadership Alliance, “Use of Summonses versus Custodial Arrest for Municipal
                                               Offenses,” December 8, 2010, and Criminal Justice Leadership Alliance, “Use of Summonses
                                               versus Custodial Arrest for Municipal Offenses,” July 14, 2011, unpublished reports provided to
                                               Vera in its role as a member of the alliance.
                                               b
                                                 “Law Enforcement Assisted Diversion,” http://leadkingcounty.org/.
                                               c City of Portland, Police Bureau, “Behavioral Health Unit,” http://cebcp.org/evidence-based-po-
                                               licing/what-works-in-policing/research-evidence-review/broken-windows-policing/
                                               d
                                                 Cameron Smith, Report of the Reset Subcommittee on Public Safety (Boston: Crime & Justice
                                               Institute, 2010), 16, http://www.oregon.gov/CJC/docs/pubsafe_subcomreport_final.pdf.




                                             The policies and pressures that have led police officers to arrest and detain a larg-
                                           er proportion of criminal suspects are not unchangeable, though they may receive
                                           considerable public support, as zero-tolerance policies have until recently. Some
                                           law enforcement agencies are focusing on community crime prevention strategies
                                           that do not always involve detaining people. They are making more use of citation
                                           and release, partnering with service agencies to divert certain groups of defendants
                                           away from the justice system altogether, and increasing their capacity to respond
                                           constructively to people with a mental health or substance abuse problem.




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CHARGE

After a police officer has arrested and detained someone suspected of breaking
the law, the person has to be formally charged in order for the case to proceed—
and that decision has to be made quickly following a custodial arrest.82 It is
up to the prosecutor to accept or decline the case, and if he or she chooses the
former, to determine what charge(s) to file, which usually occurs during ar-
raignment. The prosecutor’s charging decisions are important to the outcome of
the criminal case and the accused person’s future, but they also have significant
influence on jail populations.
  Prosecutors screen new arrests, looking at whether the elements of the alleged
crime are present in the arrest complaint and whether the quality of evidence           District attorneys
seems sufficient to support charges against the person. Prosecutors may reduce,
increase, or dismiss charges, depending on the information provided to them by          can serve as leaders
the police, or request additional information before making a decision.
   Once a prosecutor determines that a case is legally sufficient to move for-          in the creation
ward, he or she brings charges, unless there is clear exculpatory evidence or if
institutional policy in the public interest determines otherwise.83 Because the         of community-
initial charge is used as a baseline from which the prosecutor will pivot later in
the case through plea negotiations, few legally sufficient cases are dismissed or       based solutions to
diverted at this early point in the process, even though the prosecutor has wide
discretion to do both.                                                                  crime problems
   When a person is formally charged, the type and severity of the initial charge(s),
as well as any charge enhancements invoked, influence bail amounts and eligi-           and in the early
bility for non-financial pretrial release as well as diversion programs or commu-
nity-based sanctions designed to address underlying problems. In turn, these            identification of
charge decisions influence whether the person will be detained pretrial (and for
how long) and, if convicted, be given a custodial sentence.                             defendants suitable
   Some district attorney offices are re-evaluating their handling of certain
cases, declining to prosecute some types or relying more on alternatives to             for diversion.
prosecution, which do not require filing formal charges, such as problem-solv-
ing courts and other pre-charge diversion programs. This shift in course, while
hardly widespread across the nation’s 3,000 counties, does reflect a belief
among some prosecutors that jails are not always the best option for ensur-
ing public safety, and a growing desire among them to reduce the number of
people exposed to the collateral consequences that accrue to people who are
charged with a criminal offense and spend time in jail.84
   While it is easy enough to do so in individual cases, systematic efforts to
move away from a reliance on prosecution and jail detention will require dis-
trict attorneys to participate in an analysis of their current jail populations and
the longer-term outcomes for specific categories of people, charges, and dis-
positions. With a view to producing improved public safety, district attorneys




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                                               IN LIEU OF PROSECUTION

                                               Decline to prosecute. In July 2014,
                                               Kings County (Brooklyn, NY) District
                                               Attorney Kenneth P. Thompson de-
                                               cided to stop prosecuting most peo-
                                               ple arrested for low-level marijuana
                                               offenses.a Mr. Thompson said in a
                                               memo that the new policy was estab-
                                               lished to keep nonviolent individuals, especially young people of color,
                                               out of the criminal justice system because open cases as well as convic-
                                               tions can become barriers to employment, housing, and higher educa-
                                               tion. The policy was established after years of steady increases in misde-
                                               meanor marijuana arrests, including more than 8,000 such arrests in the
                                               year ending June 30, 2014.

                                               Community prosecution. In communities from Denver, Colorado to Mil-
                                               waukee, Wisconsin, assistant district attorneys are assigned to work in
                                               specific neighborhoods, often co-locating in police stations, to develop
                                               partnerships with neighborhood organizations and learn the problems
                                               (whether a “drug house” or a poorly lit bus stop) that make places less
                                               safe.b They work with community members to develop prevention strate-
                                               gies to reduce both crime and arrests and with victims to better understand
                                               their fears and losses and to explain court processes. Together with service
                                               providers, prosecutors also identify those whose behavior is a nuisance or
                                               worse in the neighborhood, and help keep them out of the criminal justice
                                               system if that can be done safely.

                                               Pre-charge diversion. The Hennepin County (Minnesota) District Attor-
                                               ney’s Office partners with a local nonprofit, Operation de Novo, Inc., to
                                               provide an alternative to prosecution for people with no felony history and
                                               a limited misdemeanor history who have been arrested for a felony-lev-
                                               el property crime where restitution is no more than $2500—people who
                                               otherwise are likely to be detained pretrial and to receive a jail sentence.c
                                               Operation de Novo case managers work with eligible arrestees to set re-
                                               quirements and goals for the year, which include community service and
                                               victim restitution. Those who successfully complete the program have a
                                               way to “pay their debt” to society and their victim without the added bur-
                                               den of a criminal conviction. In one recent year, the program handled 828
                                               felony cases, collected and returned $440,200 in restitution to victims, and
                                               oversaw 10,720 hours of client community service.d

                                               Community courts. Many cities run courts located in local communities
                                               that take a problem-solving approach to crime. Focusing primarily on mis-
                                               demeanor, quality-of-life offenses—such as simple drug possession, theft,




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   prostitution, drinking in public, and trespassing—these courts work with
   community-based organizations to create opportunities for participants
   to do required community service and to offer support designed to re-
   duce their re-offending.e While some community courts intervene after
   an individual has been formally charged and pled guilty, the City of San
   Francisco runs 10 neighborhood courts that operate as true alternatives to
   prosecution.e Prosecutors refer eligible misdemeanor cases to volunteer
   adjudicators who are residents of the neighborhood and use restorative
   justice practices to hold individuals accountable for their actions, address
   any underlying problems, and meet the needs of victims. Once individ-
   uals comply with the directives of the neighborhood court, prosecutors
   dismiss their cases.
   a
      Stephanie Clifford and Joseph Goldstein, “Brooklyn Prosecutor Limits When He’ll Target
   Marijuana, New York Times, July 8, 2014.
   b
      See Center for Court Innovation, “Denver’s Community Justice Councils,”
   http://www.courtinnovation.org/research/denver%E2%80%99s-community-justice-
   councils?url=research%2F5%25-2Fall&mode=5&type=all&page=2 and Milwaukee County District
   Attorney’s Office, The Milwaukee Community Prosecution Model, http://county.milwaukee.gov/
   ImageLibrary/User/jkrueger/Electronic/CP_Program_Description1.pdf.
   c
     Authors’ interview with Niki Leicht, Executive Director, Operation de Novo, Inc., December 3, 2014.
   d
      Spurgeon Kennedy et al., Promising Practices in Pretrial Diversion (Washington, DC: National
   Association of Pretrial Services Agencies, 2006), 11; for an overview of adult diversion programs
   in Hennepin County, see http://www.operationdenovo.org/.
   e
      For information about community courts, including examples from around the country, see Center
   for Court Innovation, “Community Court,” http://www.courtinnovation.org/research/4/publication.
   f
     City and County of San Francisco, District Attorney, “Neighborhood Courts,”
     http://www.sfdistrictattorney.org/index.aspx?page=178.




can serve as leaders in the creation of community-based solutions to crime
problems and in the early identification of defendants suitable for diversion,
especially those whose underlying problems contribute to their criminal be-
havior—such as mental illness, substance abuse, or homelessness. Population
and outcome analyses can help produce a risk assessment instrument for use at
initial case review.85 (See “What is Risk Assessment?” on page 31.)
  To be viable and effective in these cases, alternative to prosecution programs
must have strong links to communities. Such links allow prosecutors to identify
service providers to which they can refer troubled people; to establish realistic
conditions and goals for those diverted; and to build public understanding and
support for their use of diversion and other programs.86




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                                               RIGHT-SIZING THE JAIL IN NEW ORLEANS

                                               Following the devastation of Hurricane Katrina, and the ma-
                                               jor issues with the criminal justice system in New Orleans it
                                               revealed, members of the New Orleans City Council asked Vera to conduct
                                               an assessment of the city’s justice system and to identify the areas most in
                                               need of change.a At the time Katrina struck, New Orleans had a population
                                               of 455,188 and the Orleans Parish Prison (the city’s local jail) had a capacity
                                               of 8,000 and typically held more than 6,000. (By comparison, New York City,
                                               with a population of 8.4 million, has a jail population of 11,408.) The jail
                                               was heavily damaged and the Federal Emergency Management Agency
                                               agreed to pay most of the costs of constructing a new one. The sheriff
                                               proposed a new jail of 5,400 beds, despite the drop in the city’s post-storm
                                               population to 370,000.a

                                               Vera’s final report to the city in 2007 looked at ways to reduce the jail pop-
                                               ulation and to create more options for both pretrial defendants and those
                                               sentenced.b Its top two recommendations: address the long wait time from
                                               arrest and booking to arraignment—then averaging 64 days—and create a
                                               pretrial screening process, based on an objective assessment of individual
                                               risk, on which judges would base their release or detention decisions.

                                               Vera established an office in New Orleans to work with city officials (the
                                               Mayor’s Office, the district attorney, the Orleans Public Defender, the
                                               courts, the city council, the New Orleans Police Department, and others),
                                               civic institutions, and organizations with deep roots in the communities
                                               most affected by the criminal justice system to develop and implement
                                               these and other changes. By 2011, a working group of city officials staffed
                                               by Vera had succeeded in reducing the average time before arraignment
                                               from 64 days to 10.5 days. Another working group helped the court imple-
                                               ment a system of vertical case allotment that makes much more efficient
                                               use of resources for the public defender and prosecutor offices. And, to-
                                               day, the police in New Orleans issue a far higher percentage of summons
                                               in lieu of arrest than ever before.

                                               In 2012, with support from many of these agencies and community organi-
                                               zations, Vera developed a comprehensive pretrial services system for the
                                               city that includes: universal screening; interviews with defendants; investi-
                                               gation of information prior to the first court appearance; the use of a risk
                                               assessment instrument to guide release decisions; the ability to supervise
                                               defendants; and a court-date reminder system to help defendants meet
                                               their obligations. Finally, as the city nears completion of its new jail, the
                                               mayor’s office has committed to a smaller jail of 1,438 beds.




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   Vera’s experience in post-Katrina New Orleans demonstrates that reform
   is possible but requires thorough data analysis, collaborative and pro-
   ductive relationships with community leaders and elected officials, and
   early positive outcomes demonstrating enhanced justice, efficiency, and
   public safety.
   a
     Katy Reckdahl, “Orleans Parish Prison Size Recommendation Issued,” The Times Picayune
   November 19, 2010.
   b
     Vera Institute of Justice, A Report Submitted to the Criminal Justice Committee of the New
   Orleans City Council (New York, NY: Vera Institute of Justice, 2007).




PRETRIAL RELEASE AND BAIL

Once a person has been arrested, there is a presumption that the person will be
released pending the outcome of his or her case, unless the individual poses a
danger to persons or property or seems likely to flee.87 In some jurisdictions, po-
lice commanders have the authority to release people directly from the station
house using a bail schedule. In most places, however, the bail or release decision
is made by a judge, magistrate, or bail commissioner. These officers of the court
have considerable discretion in evaluating the person’s circumstances and mak-
ing decisions about release. They can set conditions or require assurances, such
as bail, to facilitate release whenever possible.88 The presumption that defen-
dants should be released unless they present a clear danger or pose a flight risk
to avoid prosecution is rooted in the principle that people are innocent until
proven guilty and should be treated as such. Actual pretrial release practices,
however, are at odds with this fundamental principle, as illustrated by the fact
that today six out of 10 people in jail are detained pretrial.89
   In 1990, most felony defendants who were freed from jail pending the res-
olution of their cases were released on non-financial conditions (comparable
national data on misdemeanor defendants are not available).90 Nearly 20 years
later, in 2009 (the latest year for which data are available), those released on their
own recognizance (also referred to as ROR) made up only 23 percent of all felony
defendants released pretrial.91 While an additional 15 percent were released on
other types of non-financial bail, the remaining 61 percent of defendants were
required to post financial bail, either by providing the whole or a portion of the
total amount or equivalent collateral, or by hiring a bail bondsman to post the
sum in the form of a private surety bond for a non-refundable fee.92 Among 2009
felony cases, private surety bonds accounted for four out of five releases that in-
volved money and close to half of all releases.93 In addition to requiring bail more
frequently, judges also increased bail amounts. The average bail amount in felony
cases increased 43 percent (in constant dollar values) between 1992 and 2009,
from $38,800 to $55,400.94 As a result of these factors, more and more defendants
remain in jail simply because they cannot pay their way out.




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                                        Financial and non-financial release conditions

                                        Felony defendants who were freed from jail pending the resolution of their cases
                                        were more likely to have been released on recognizance or other non-financial
                                        conditions in 1990 than in 2009 and were more likely to have been released on
                                        private bonds or other financial conditions in 2009 than in 1990.




                                                                60%                                                %
                                                                                                               61
                                                                         RO
                                         % OF RELEASES                       R,
                                                                                  ET
                                                                                    C.


                                                                                     T C.
                                                                                  ,E
                                                                            ND                               38%
                                                                        BO
                                                                   %
                                                                40

                                                         1990                                                             2009


                                                    In the years since Vera launched The Manhattan Bail Project in 1961—the na-
                                                  tion’s first experiment with pretrial services—numerous studies have pointed
                                                  to the same, highly reliable indicators associated with success or failure on re-
                                                  lease during the pretrial period (i.e., whether or not defendants stay out of trou-
                                                  ble or show up to court when required).95 In particular, community ties through
                                                  family and work are strong predictors of success, while a record of prior convic-
                                                  tions, especially felonies, a history of juvenile arrests, and a history of failure
                                                  to appear in court are associated with failure.96 Even for those with some risk
                                                  of failure, the chance of success can be improved and the risk mitigated with
                                                  additional support and supervision in the community. Noticeably missing from
                                                  either list is the financial means to pay bail, which is not a strong predictor of
                                                  pretrial success (defined as remaining arrest-free during the pretrial period and
                                                  appearing at scheduled court dates).97 Indeed, as bail amounts increased, pretri-
                                                  al failure rates remained steady at about 30 percent.98
                                                    Putting this research into practice is within the reach of most jurisdictions.99
                                                  Using these risk factors—and any others chosen by the court—the court or
                                                  pretrial services agency administers the assessments. These typically involve
                                                  gathering information on the defendant’s criminal history as well as requesting
                                                  personal information (e.g., length of residence at current address, current em-
                                                  ployment status, etc.) from the defendant and verifying it through phone calls.




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   WHAT IS RISK ASSESSMENT?a

   The foundation of good criminal justice and correctional prac-
   tices is the administration of a validated risk or risk and needs
   assessment tool to defendants and offenders. Risk assessment instruments
   measure the likelihood that a person will reoffend if or when released
   into the community. Needs assessments identify a person’s criminogenic
   needs—that is, personal deficits and circumstances known to predict crim-
   inal activity if not changed.

   Today’s assessment tools measure static (those things that can’t be
   changed, such as age, criminal history, etc.) and dynamic (those that can,
   such as drug addiction, anti-social peers, etc.) risk factors, criminogenic
   needs, and strengths or protective factors present in a person’s behavior,
   life, or history. There are a variety of assessment tools available for different
   purposes. Some are proprietary while others are available at no cost. What-
   ever tool is used in whatever context, states and counties must validate
   them using data from their own populations.

   Assessment tools are used to some degree in all states and in many counties
   at a number of decision points in the criminal justice process and in a
   variety of settings. Judges and releasing authorities use information from
   assessment tools to guide decisions regarding pretrial release or detention
   and release on parole; corrections agencies use them for placement within
   correctional facilities, assignment to supervision level or to specialized
   caseloads, and for recommendations regarding conditions of release.
   Since the best tools evaluate the person’s dynamic or changeable risk
   factors and needs, they should be re-administered routinely to determine
   whether current supervision or custody levels and programming are still
   appropriate.

   A 2012 survey conducted by Vera found that a majority of community su-
   pervision agencies and releasing authorities routinely utilize assessment
   tools. Responses from 72 agencies across 41 states indicated that 82 per-
   cent of respondents regularly assessed both risk and need. While these
   self-reported numbers may be inflated, the responses do show correction-
   al agency awareness of the importance of assessments.
   a
    Adapted from Peggy McGarry et al., The Potential of Community Corrections to Improve Safety
   and Reduce Incarceration (New York, NY: Vera Institute of Justice, 2013), p. 16.




Each factor of the collected information is assigned a numerical score weighted
to its relevance to pretrial failure. The greater the association of the factor with
pretrial failure, the higher the score assigned to it.100




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                                           What’s keeping them in?

                                           In this view of 2013 New York City jail data, more than 50% of jail inmates held
                                           until case disposition remained in jail because they couldn’t afford bail of $2,500
                                           or less. Most of these were misdemeanor cases.

                                           Low bail = $2,500 or less.
                                                                                                   13%
                                                                                                   Felony,
                                                                                                   low bail



                                                                                  41%                         42%
                                                                                  Misdemeanor                 Felony, high
                                                                                  or Violation,               or no bail
                                                                                  low bail




                                                                                                  4%

                                                                                                Misdemeanor or
                                                                                                Violation, high bail


                                             Despite the predictive accuracy of risk assessments, few of the more than
                                           3,000 court systems in the United States rely on these tools to make decisions
                                           about pretrial release. Some jurisdictions have implemented bail schedules
                                           in the interest of standardizing bail amounts. These link bail amounts to the
                                           severity of the initial charge, with criminal charge serving as a proxy for risk of
                                           re-arrest and flight, and the bail amount meant to mitigate that risk.101 Unfor-
                                           tunately, the severity of the initial charge(s)—a decision entirely within the
                                           discretion of the prosecutor—has not been shown to be a good predictor of
                                           public safety or appearance in court. And this practice can lead to some seri-
Money, or the                              ous unintended consequences for both individuals and public safety: low-risk
                                           defendants who cannot afford to post bail linger in jail, while some high-risk
lack thereof, is                           defendants are released because they can afford a large bail amount.102
                                             Money, or the lack thereof, is now the most important factor in determining
now the most                               whether someone is held in jail pretrial. Almost everyone is offered monetary
                                           bail, but the majority of defendants cannot raise the money quickly or, in some
important factor                           cases, at all. Many who cannot make bail initially will be released at some point
                                           pending trial. However, 38 percent of felony defendants will spend the entire-
in determining                             ty of their pretrial periods in jail.103 Yet, only one in ten of these defendants is
                                           detained because he or she is denied bail. The rest simply cannot afford the bail
whether someone is                         amount the judge sets.104 For example, in New York City in 2013, 54 percent of
                                           jail inmates held until their cases had been disposed remained in jail because
held in jail pretrial.                     they could not afford bail of $2,500 or less—with 31 percent of the non-felony
                                           defendants held on bond amounts of $500 or less.105


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FACILITATING PRETRIAL
RELEASE

Risk assessment. Kentucky has a single
statewide agency that assesses all de-
fendants using a locally validated risk
assessment instrument. In recent years,
the court has released 70 percent of all defendants pretrial, with only four per-
cent requiring bail.a Outcomes for people released without monetary bail in
Kentucky are far better than for those released nationally with such bail. In
Kentucky, just eight percent of defendants at liberty in the community were
rearrested during the pretrial period and 10 percent missed a court date.b
Among people released on bail nationwide, 16 percent were rearrested and
17 percent missed a court date.c

Early bail hearings. A growing number of jurisdictions are moving to hold
most bail hearings within 24 hours of arrest—a move that is crucial given
recent research that shows long-term outcomes are considerably worse for
defendants held in jail longer than 24 hours, even if they are later released.d
There are two ways to achieve this: holding bail hearings within 24 hours of
arrest and authorizing pretrial services agencies to release defendants as-
sessed as low risk. In Delaware, magistrates work around the clock to review
cases and make initial bail determinations (in part by using a risk assessment
instrument) within the first 24 hours of arrest.e In Connecticut, the pretrial
services agency assesses and releases low-risk defendants at their discretion,
reporting an 11 percent failure to appear rate among those released.f

Pretrial supervision. Developing the capacity to monitor and assist de-
fendants during the pretrial period makes it possible for judges and other
court officers who make release and detention decisions to release high-
er-risk people who would otherwise be detained pending trial. The work
with defendants typically involves establishing specific parameters for their
behavior during the pretrial period and linking them with service provid-
ers in the community to help them address longstanding problems and
remind them about upcoming court dates.g Washington, DC’s Pretrial Ser-
vices Agency (DCPTS) has a very robust release and supervision program:
85 percent of defendants are released on ROR or with conditions super-
vised by DCPTS—and of that 85 percent, in 2012, just 11 percent were
rearrested while released, and 11 percent failed to appear.h

In 2006, Cocinino County, Arizona found that about 23 percent of the jail
population were defendants who were detained after failing to appear at
scheduled court dates. The county tested several court reminder systems for
defendants who received citations in the field. The failure to appear rate was
reduced from 25 percent in the control group to six percent in the reminder




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                                               group when the caller spoke directly to the defendant, 15 percent when a
                                               message was left with another person, and 21 percent when a message was
                                               left on an answering service.i In this and other areas, research shows that
                                               tailoring release conditions to a defendant’s circumstances both facilitates
                                               release and increases success during the pretrial period.j
                                               a
                                                 Tara Boh Klute and Mark Heyerly, Report on Impact of House Bill 463: Outcomes, Challenges and
                                               Recommendations (Frankfurt, KY: Pretrial Services, Administrative Office of the Courts, 2012).
                                               b
                                                  Ibid.
                                               c
                                                 Brian A. Reaves, Felony Defendants in Large Urban Counties, 2009-Statistical Tables (Washington,
                                               DC: Bureau of Justice Statistics, Department of Justice, 2013)
                                               d
                                                  Laura and John Arnold Foundation, Research Summary: Pretrial Criminal Justice Research (New York,
                                               NY: Laura and John Arnold Foundation, 2013).
                                               e
                                                  Alan Davis, Legal Memorandum No.11-294 (Georgetown, DE: Delaware Justice of the Peace
                                               Courts, 2011).
                                               f
                                                 See State of Connecticut, Judicial Branch, Adult Services Bail Intake/Assessment Procedures 4.1
                                               (Connecticut: Court Support Services Division, 2013); James Carrollo, bail regional manager, Adult
                                               Probation and Bail Services, Connecticut Court Support Services Division, telephone interview by
                                               Vera, on April 8, 2014).
                                               g
                                                  Donna Makowiecki and Thomas J. Wolf, “Enter...Stage Left...U.S. Pretrial Services,” Federal Proba-
                                               tion 71, no. 2 (2007): 7-9; see also William Henry, “The Pretrial Services Act: 25 Years Later,” Federal
                                               Probation 71, no. 2 (2007): 16.
                                               h
                                                  Pretrial Services Agency of the District of Columbia, Congressional Budget Justification and
                                               Performance Budget Request, Fiscal Year 2014 (April 2013), 7.
                                               i
                                                 Marie VanNostrand, Kenneth Rose, and Kimberly Weibrecht, State of the Science of Pretrial Release
                                               Recommendations and Supervision (Washington, DC: Pretrial Justice Institute, 2011), 17-19.
                                               j
                                                 Ibid., pp. 27-29.




                                              As this illustrates, bail amounts are not set in relation to an individual’s ability to
                                           pay. This fact hurts some groups more than others, given socio-economic dispar-
                                           ities in the United States.106 A recent study shows that although black men are
Judges need not rely                       detained pretrial at higher rates than white men or black or white women, bail
                                           amounts are not set higher for them.107 Rather, as stated above, black men appear
on bail. There are                         to be caught in a cycle of disadvantage: incarcerated at higher rates and, therefore,
                                           more likely to be unemployed and/or in debt, they have more trouble posting bail.
other options for the                         When out-of-reach bail amounts are combined with overloaded courts, a
                                           situation arises in which defendants can spend more time in jail pretrial than
safe release of many                       the longest sentence they could receive if convicted.108 These cases, in particu-
                                           lar, turn our ideals about justice upside down. Sentenced to “time served” and
more defendants                            released, the system punishes these individuals while they are presumed to be
                                           innocent, and then releases them once they are found guilty.
either on their own                           Building on the broad discretion judges have in deciding whether or not to re-
                                           lease someone pretrial and the sizeable body of evidence about how to set release
recognizance or with                       conditions, judges need not rely on bail. There are other options for the safe release
                                           of many more defendants either on their own recognizance or with the aid of
the aid of special                         special conditions and supervision. These options, deployed under the umbrella
                                           term of pretrial services, require jurisdictions to develop the capacity to conduct
conditions and                             formal risk assessments, to speed the time from arrest to initial bail hearing, and to
                                           invest in pretrial supervision resources to enable the non-financial release of those
supervision.                               deemed too high a risk for ROR. Most important, the success of pretrial services
                                           depends on the trust of and appropriate use by the court or its designees.



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                            Diversion and release opportunities during the typical criminal case trajectory


                            • Referral to          • Decline to               • Release on        •D
                                                                                                       ismiss Charge    • Release on
                              Services or             Prosecute                   Recognizance                             Recognizance
                              Treatment                                                              • Referral to: 
                                                    • Referral to              • Release with:        > Diversion      • Release with: 
                            • Cite & Release          Diversion                   > Non-Financial       Programs          > Non-Financial
                                                      Programs                      Conditions         > Problem-          Conditions                                                   COMMUNITY
                                                                                  > Pretrial            Solving Court     > Pretrial
                                                                                    Supervision
                                                                                                                                                                                          SUPERVISION
                                                                                                                             Supervision
                                                                                  > Financial                             > Financial                                                    & RE-ENTRY
                                                                                    Conditions                               Conditions
                                                                                                                                                                                                        Case 3:17-cv-00321-WKW-SMD




                                                                                                             C A S E     P R O C E S S I N G                                    NOT
                                                                                                                                                                               GUILTY
                                                                                    PRETRIAL                                                    TRIAL OR PLEA    DISPOSITION
                                ARREST                    CHARGE                                       ARRAIGNMENT        BAIL REVIEW
                                                                                     RELEASE                                                    NEGOTIATION     & SENTENCING
                                                                                   ASSESSMENT
                                                                                                                                                                                         RELEASE FOR
                                                                                                                                                                                         TIME SERVED
                                                                                                                                                                                                        Document 6-35




                                                                                                                                $                                               GUILTY
                                                             D E TA I N E D     IN JAIL                                       D E TA I N E D   IN JAIL


                                                                                                                                                                                           CUSTODIAL
                                                                                                                                                                                           SENTENCE
                                                                                                                                   ACCEPT PLEA
                                                                                                                                                                                                        Filed 05/18/17




                                     Detained in jail, sentenced to custody,
                                     or revoked back to custody for violation                        COMMUNITY                                                  CUSTODIAL
                                     Released from custody                                           SUPERVISION                                                SENTENCE
                                                                                                      & RE-ENTRY                  RELEASE FOR
                                                                                                                                  TIME SERVED
                                                                                                                                                                                                        Page 36 of 57




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                                           CASE PROCESSING

                                           Given the large proportion of defendants detained pending the resolution of
                                           their cases, the speed—or lack thereof—at which cases are processed through
                                           the courts has a direct impact on jail populations. When defendants are de-
                                           tained throughout the process, the duration of the case equals the number of
                                           days, weeks, or months a defendant is held in jail. Even when a defendant is
                                           released at some point prior to being adjudicated, delays earlier in the process
                                           extend his or her time behind bars. A large sample of defendants in Los Angeles
                                           County, all accused of felony crimes and all detained pretrial, spent 53 days on
                                           average in jail by the time their cases were resolved.109 More than 25 percent of
                                           the people in jail pretrial had stays longer than 80 days, with more than 800
                                           defendants spending in excess of 200 days in jail until case resolution.110
                                             Unlike previous decision points that focus on a moment in time, the process-
                                           ing of a case encompasses the entire adjudication process, from a person’s initial
                                           appearance in court through disposition and sentencing. A slow pace is most ev-
                                           ident in the official delays that occur at different points in the process. Postpone-
                                           ments or continuances occur routinely, despite laws meant to guarantee a speedy
                                           trial. 111 In larger jurisdictions, with high-volume court dockets, the sheer number
                                           of cases coupled with the routine use of postponements can cause chronic case
                                           backlogs that leave people waiting in jail for months, sometimes years, even
                                           when the case is ultimately dismissed.112 A recent analysis of New Jersey’s jail
                                           population, for example, revealed that nearly half of all pending cases, mostly
                                           involving defendants detained pretrial, were in backlog status.113
                                              Cases can be postponed or continued for any number of reasons, and literally
                                           everyone involved in the adjudication of a case—courts and potentially also ju-
Lack of readiness,                         ries and witnesses, pretrial services, prosecutors and defense attorneys, police,
                                           and jail administrators—can either initiate or indirectly cause a postponement.
logistical challenges,                     Of all the possible causes, three broad categories—lack of readiness, logistical
                                           challenges, and the tactical use of delays—are particularly instructive to exam-
and the tactical                           ine in the context of their impact on jail populations.
                                              Lack of readiness on both sides of a case is a leading reason for delays, and
use of delays                              may be in part a result of an overburdened court system flooded by huge mis-
                                           demeanor case loads.114 A study of 54 misdemeanor marijuana cases scheduled
are particularly                           to go to trial in the Bronx revealed that the district attorney requested adjourn-
                                           ments in 80 percent of cases because the prosecutor was not ready to proceed—
instructive to                             meaning they were not ready on 75 of 89 trial dates.115
                                              Aside from the complexities of an actual trial—and very few cases go to
examine in the                             trial—the processing of a criminal case includes many stages and events, all of
                                           which require coordination among different agencies and individuals.116 This
context of their                           is a logistical challenge under the best circumstances and a morass under the
                                           worst. Complicated plea or sentencing negotiations; defendants who fail to
impact on jail                             show up in court for hearings because of miscommunication between the court

populations.

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CASE PROCESSING REFORMS

Time limits with real consequences. Overcrowded con-
ditions in the Bernalillo County Jail caused primarily by a
backlog of roughly 3,000 cases, many involving defendants
held pretrial, compelled the New Mexico Supreme Court
to announce new rules aimed at limiting court delays.a Under the new rules, which
take effect in February 2015, all criminal cases will be assigned to one of three tracks
according to the complexity of the case and must adhere to a specific timeline.b The
clock starts at arraignment and a postponement requires the presiding judge to issue
a written finding of good cause. The rules are also designed to prevent postponing
trials to accommodate prolonged plea bargaining as well as last-minute pleas filed
on the eve of a trial. Importantly, both sides in a case will be subject to sanctions and
fines for failing to meet the established deadlines, and the supreme court will also be
tracking which judges are allowing cases to fall behind the timetables.

Special backlog courts. Some jurisdictions, including both Bronx County, New York,
and Bernalillo County, New Mexico, have recently enlisted the services of judges from
other counties or hired new judges to oversee special court dockets designed to clear
backlogged cases. In the Bronx, cases that are more than two years old receive priority
and judges assigned to these cases are mandated to either bring the case to trial or
compel the two sides to reach a plea agreement.c

Case consolidation. To address the inherent inefficiencies and delays that happen
when a person has open cases in more than one court—cases that may range in na-
ture and severity from traffic violations to felonies—officials in Orange County, Cali-
fornia adopted a policy to “package” cases. Under the policy, a single justice center
becomes the physical locus and administrative body for resolving all open cases
countywide that involve a particular defendant.d Implementing the policy required
updating and consolidating separate court databases to enable easy searches and
access to all related files. Case consolidation not only speeds case processing, re-
ducing stays in jail pretrial, it also generates more accurate information for jail ad-
ministrators about a person’s expected length of stay.

a
  Mike Gallagher, “New Rule Aims To Unclog Courts, Cut Jail Population,” Albuquerque Journal, November 13,
2014, http://www.abqjournal.com/495530/news/new-rule-aims-to-unclog-courts.html; for recommendations to
reduce jail overcrowding in Bernalillo County, see Bernalillo County Criminal Justice Reform Commission, Prelim-
inary Report to Interim Courts, Corrections and Justice Committee, September 2014 at www.nmlegis.gov/LCS/
handouts/CJRS%20092414%20Item%203%20BernCo%20Crim%20Justice%20Reform%20
Commission%20report.pdf
b
  Ibid.
c
  James McKinley, “Bronx Courts Make Gains in Reducing Court Backlogs,” The New York Times, December
11, 2013; New York State Unified Court System (NY Courts), “State Court System Reports Dramatic Cut in
Bronx Felony Case Inventory, Announces Plan to Slash the Borough’s Misdemeanor Backlog and Names
New Bronx Appointment,” press release (New York: NY Courts, December 11, 2013),
http://www.nycourts.gov/press/PDFs/PR13_14a.pdf.
d
  Cherie Garofalo, The Impact of Coordinating Multiple Criminal Cases in the Multiple Court Sites of the
Orange County Superior Court (Williamsburg, VA: National Center for State Courts, Institute for Court
Management, 2011).




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                                           and jail; problems producing witnesses or evidence; and scheduling conflicts,
                                           especially involving defendants that have pending cases in more than one
                                           court, are among the many logistical problems that commonly occur. Misde-
                                           meanor courts are also often training grounds for young prosecutors and de-
                                           fense attorneys, and their cases typically take longer to resolve than they might
                                           if more seasoned attorneys were handling them.117
                                              Both sides in a criminal case may use postponements for tactical purposes.
                                           Prosecutors might delay a case in an attempt to pressure a defendant to plead
                                           guilty, especially if the person is held in jail and prolonging the case will extend
                                           his or her time behind bars.118 On their part, defenders believe that some delays
                                           may benefit their clients, since the quality of the prosecution’s evidence usually
                                           degrades with time. In particular, delays can make it harder for prosecutors to
                                           maintain contact with key witnesses and may also have a negative effect on
                                           the credibility of witness testimony because memories fade over time.119
                                              Delays in case processing come at great cost to the counties and municipalities
                                           holding defendants pretrial; to the agencies involved as cases drag on with mul-
                                           tiple court appearances and conferences; to victims for whom justice is delayed;
                                           and to the detained people and their families in severed ties, lost wages, accumu-
                                           lated debt, and other burdens commonly associated with an extended stay in jail.
                                           Recognizing that greater efficiencies in case processing benefit everyone, jurisdic-
                                           tions have made efforts to significantly reduce delays and clear case backlogs.

                                           DISPOSITION AND SENTENCING

                                           A criminal case comes to its conclusion at the point of disposition and sen-
                                           tencing. This can occur at arraignment or any point thereafter. In most cases,
                                           defendants plead or are found guilty by a court, have their case dismissed, or
                                           are found not guilty. Since 94 to 97 percent of criminal convictions are reached
                                           through a negotiated plea, much of the decision-making power in disposition
                                           remains with the prosecutor, who can leverage the initial charge decision and
                                           the amount of money bail requested to bring a case more quickly to a close
                                           with a plea deal.120 Particularly for defendants on low-level charges—who have
                                           been detained pretrial due to an inability to pay bail, a lack of pretrial diversion
                                           options, or an inability to qualify for those options that are available—a guilty
                                           plea may, paradoxically, be the fastest way to get out of jail.121
                                             Even at the point of disposition, there are options that allow for the release
                                           of people from custody without their having to accept a permanent guilty plea,
                                           which can have lasting collateral consequences for employment, housing, im-
                                           migration status, and access to public benefits. Alternative resolutions such as
                                           conditional discharge, deferred prosecution, or adjournment in contemplation
                                           of dismissal provide for release conditioned by continuing lawful behavior with
                                           ongoing supervision and, in some cases, other requirements like participation
                                           in a treatment program or community service. If the conditions of the discharge
                                           or adjournment are met, the case will be dismissed. Some problem-solving
                                           courts will require that participants enter a guilty plea in order to participate,




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INVESTING IN ALTERNATIVE DISPOSITIONS

Problem-solving courts. Lawmakers in Indiana recently authorized the
use of problem-solving courts as a condition of a misdemeanor sentence.
Even a county sheriff can refer someone to a problem-solving court.a In-
diana is among a growing number of states and localities that are in-
vesting in problem-solving courts. These courts tend to focus on groups of people with distinct
needs—substance abuse, mental illness, homelessness, post-traumatic stress disorder as a result of
participation in combat, and a history of prostitution—and aim to hold people accountable while
also addressing their needs. They can be a way for individuals to wipe the slate clean, since success
typically guarantees that prosecutors will vacate a guilty plea, if filed, and dismiss the charges.

As of 2013, approximately 2,800 drug courts and more than 300 mental health courts were operat-
ing in jurisdictions across the country, with other types of problem-solving courts in development.b
While many of these courts are limited to misdemeanor cases, many others, such as one in Baltimore,
specifically handle felony drug cases, or other felony cases where the defendant has a substance use
disorder, through referrals from the district attorney’s office.c Equally innovative, Michigan passed
laws in 2013 that provide a framework for counties to establish and run mental health courts and
explicitly allow participation by people who have previously participated in a similar program.d

Pretrial diversion. Some states are expanding their post-charge diversion programs so that more de-
fendants can participate. In 2013, for example, New Jersey’s conditional dismissal program in the state’s
misdemeanor court expanded to defendants charged with non-drug misdemeanor crimes, such as tres-
passing and shoplifting.e Similarly, in the same year, the Alabama legislature authorized district attorneys
to establish pretrial diversion programs in their jurisdictions open to defendants charged with misde-
meanors, traffic offenses, property crimes, most drug crimes, and other offenses within prescribed limits.f
Finally, understanding that most behavior change is slow and subject to setbacks, Colorado passed a
law in 2013 allowing judges to impose additional conditions rather than pull individuals out of the state’s
deferred judgment program following any violation of program terms in order to enhance the likelihood
of eventual success by participants in the program.g

a
  Indiana HB 1016 (2013).
b
  For information on drug courts, see National Institute of Justice, “Drug Courts,” http://www.nij.gov/topics/courts/drug-courts/
Pages/welcome.aspx. For information on mental health courts, see Council of State Governments Justice Center, “Mental Health
Courts,” http://csgjusticecenter.org/mental-health-court-project/ and Substance Abuse and Mental Health Administration, “Adult
Mental Health Treatment Court Database,” http://gainscenter.samhsa.gov/grant_programs/adultmhc.asp. For information on
newly created problem-solving courts, see Ram Subramanian and Rebecka Moreno, Recalibrating Justice: A Review of 2013 State
Sentencing and Corrections Trends (New York, NY: Vera Institute of Justice, 2014) 19-21.
c
  See Juliette Mackin et al., Baltimore City Circuit Court Adult Drug Treatment Court and Felony Diversion Initiative: Outcome and
Cost Evaluation Final Report, (Portland, OR: NPS Research, 2009).
d
  Michigan HB 4694 (2013). This law was tie-barred with three other enacted bills—HB 4695, HB 4696 and HB 4697— all of which deal
with more detailed aspects of mental health court operations, procedures, and requirements.
e
  New Jersey A 3598. NJ has two diversion programs, the Pre-Trial Intervention Program (PTI) and the Conditional Discharge
Program (CDP), both of which result in the dismissal of charges upon successful completion. PTI only applies to felonies, and CDP
only applies to misdemeanors and (now) petty offenses. Upon successful completion of the program, charges are dismissed and
individuals can apply to have their records expunged six months after dismissal.
f
  Alabama HB 494 (2013). This law applies only to district attorneys operating in the absence of a local act. Additional laws were
passed in 2013 granting the authority to establish discretionary pretrial diversion programs to any governing body of a munici-
pality generally (HB 648) as well as specifically to Huntsville (HB 452), Geneva County (HB 495), Irondale (HB 638), Fultondale (HB
644), Hoover (HB 645), St. Clair County (HB 649), and Alabaster (SB 467).
g
  Colorado SB 250 (2013).




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                                           with sentencing deferred pending completion of programming and conditions.
                                           Successful participants will have those pleas vacated and charges either dis-
                                           missed or reduced, or will be given a non-custodial sentence.
                                             For those whose cases are not dismissed or deferred pending dismissal in
                                           some manner, a guilty plea or finding can lead to a custodial sentence in state
                                           prison or jail, a period of confinement in a residential community corrections
                                           or treatment facility, a sentence of probation supervision, or a split sentence
                                           of confinement followed by a period of community supervision. Those who
                                           have already served time in jail pre-disposition may receive a sentence of
                                           time served: for low-level cases, time served may actually exceed the custodial
                                           sentence they could have received if convicted of the offense. Those ultimately
                                           serving time in jails will primarily be lower-level felons and misdemeanants,
                                           serving sentences on average of less than one year.
                                             As the overall size of the jail population has risen, so too has the number
                                           of people held in jails post-conviction—despite the fact that the sentenced
                                           population has been steadily declining as a percentage of the jail population
                                           since the 1990s. In 1990, sentenced inmates represented 48.5 percent of the
                                           population.122 By 2000, it had declined to 44 percent, and by 2013, the sentenced
                                           population was 38 percent of the total jail population.123 This decline does not
                                           mean that fewer people are receiving custodial jail sentences, particularly in
                                           light of the concurrent rise in the number of sentenced felons serving lengthy
                                           sentences in state prisons. It is simply that the number of people held in jails
                                           pretrial has been rising at a faster rate, and these people are staying for longer
                                           periods of time. As noted above, some of those pretrial days will count towards
                                           time served but will not later be captured statistically as post-conviction time.
                                              In light of decades of mass incarceration and the myriad collateral conse-
                                           quences that can beset a person with a criminal record, many jurisdictions are
                                           now moving to resolve more cases in ways that hold people accountable with-
                                           out using incarceration as punishment or burdening them with a criminal con-
                                           viction.124 Building on lessons learned from the first generation of alternatives
                                           to incarceration, including problem-solving courts and post-charge diversion
                                           programs, jurisdictions are working to create clear and focused eligibility cri-
                                           teria and use validated risk and needs assessment tools to better match people
                                           with programs.125 They are also trying to improve success rates and address one
                                           of the most persistent challenges—finding ways to respond effectively to non-
                                           compliant participants instead of punishing bad behavior with jail time.126




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   USING ADMINISTRATIVE DATA TO
   PRIORITIZE JAIL REENTRY SERVICES

   Prior to the late 1990s, jail reentry and jail discharge
   planning were virtually unheard of, and few jails
   provided services to support people as they left
   custody. However, in the past decade, jails have
   begun to implement new service models with the aim of reducing recidi-
   vism. While they are an important innovation, jail reentry services typically
   have inadequate funding and programming, and most are swamped by the
   extent of the demand.

   In collaboration with the New York City Department of Correction (DOC),
   Vera’s Substance Use and Mental Health Program developed and validated
   (for men) a low-cost and easy-to-implement tool—called the Service Priority
   Indicator (SPI)—that jail officials could use to identify those who would ben-
   efit most from access to the system’s limited discharge planning resources.a

   Using existing data recorded in the DOC’s jail management database, re-
   searchers identified four risk factors for recidivism—age at jail admission, cur-
   rent charge, number of prior DOC admissions, and recent DOC admissions—
   and assigned a score to each based on the strength of its correlation with
   readmission to DOC custody. The scores, which range from zero to seven,
   were then grouped into four service priority levels, equivalent to having low,
   medium, high, or very high risk of readmission, with those at the greatest risk
   of recidivism also identified as very high priority for receiving discharge plan-
   ning services. Vera’s research also found that those identified by the SPI as
   having a very high service priority tended to stay in jail longer and were more
   likely to be released upon completion of their sentences—offering a window
   of opportunity to provide jail-to-community reentry services.
   a
     Qing Wei and Jim Parsons, Using Administrative Data to Prioritize Jail Reentry Services: Findings
   from the comprehensive Transition Planning Project (New York, NY: Vera Institute of Justice, 2012).




REENTRY AND COMMUNITY SUPERVISION

There are several ways in which sentenced offenders come under community
supervision. They can be directly sentenced to probation, their sentence can be
split between terms of incarceration and probation, or part of their custodial
sentence can be served in the community on parole at the discretion of the
paroling authorities.
  Community supervision usually entails the adherence to certain conditions set
by the judge if on probation, or the paroling authority if on parole. In addition, the
supervising agency or agent can set the type and intensity of programming and
other rules, such as the number of required office visits. People who fail to follow
their conditions face sanctions, including revocation to prison or jail.



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                                             Although in some jurisdictions the conditions or rules of supervision are
                                           guided by risk and needs assessments, in practice many do not conduct thor-
                                           ough assessments and end up applying a generic set of requirements for all
                                           people on supervision. In the case of low-risk offenders, this can actually in-
                                           crease their risk of failure.127
                                             Positive activities like school, work, and religious participation can be imped-
                                           ed by unnecessarily restrictive terms of supervision and obligations, including
                                           restrictions on movement, having a driver’s license suspended, curfews, fre-
                                           quent reporting, and mandatory programming that does not reduce risk.128 In

A term of                                  some jurisdictions, a violation as minor as missing a scheduled appointment
                                           can result in an immediate return to jail; and when a former prisoner or proba-

community                                  tioner is accused of violating the terms of his or her conditional release, he or
                                           she is often sent to jail to await the adjudication of the suspected violation.

supervision can be                           However, when the person on supervision and the supervising officer
                                           thoughtfully incorporate the results of a risk and needs assessment into the

of great benefit to                        terms of supervision and needed services and supports are available, then a
                                           term of community supervision can be of great benefit to the person and his

the person and his                         or her family, reduce the likelihood of future incarceration, and make a positive
                                           contribution to public safety.129

or her family, reduce
the likelihood of                              IMPROVING COMMUNITY
                                               SUPERVISION AND
future incarceration,                          RESTRUCTURING CRIMINAL
                                               JUSTICE DEBT
and make a positive                            Community supervision: calibrating conditions to risk. The most im-

contribution to
                                               portant change needed to improve supervision and reduce recidivism is
                                               the adoption and careful implementation of a validated risk and needs

public safety.
                                               assessment tool at the time of release from jail, when a person is placed on
                                               probation, and at regular intervals throughout the supervision term. While
                                               growing numbers of states have mandated that state agencies use such
                                               tools and their results to guide supervision, their use on the local level
                                               needs to be more widely adopted.a

                                               Jurisdictions interested in instituting or expanding supervision options for
                                               low-risk offenders might look to Georgia, which recently implemented an
                                               automated reporting system for the roughly 80,000 low-risk probationers
                                               under supervision.b The call-in system triggers further scrutiny from the su-
                                               pervising officer if a probationer provides a non-standard response to a se-
                                               ries of questions. Georgia, which has approximately 820 probation officers,
                                               has been able to allocate more resources to the 25,000 medium- and high-
                                               risk probationers under supervision by using this system, thus increasing
                                               public safety and improving supervision quality. The system also reduced
                                               the cost of supervising low-risk offenders from $1.68 to $0.45 per day.c




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Implementing graduated responses in community supervision. More
and more jurisdictions are relying on graduated responses and sanctions
to respond to people who violate the conditions of their release or to
reward the accomplishments of those who are making marked improve-
ments in compliance.d Agencies have developed grids that match types
of rule-breaking with particular punishments that increase in severity de-
pending on the number of times a person has broken a particular rule or
the number of rules broken at any one time and have created an array of
rewards or recognition according to the level or length of compliance and
achievement (securing a GED, for example). In a number of jurisdictions,
such as Oregon and Kansas, technical revocations went down after imple-
menting such policies.e

Implementing other evidence-based practices. A critical piece of evi-
dence-based practice is determining the level of supervision and the in-
tensity of programming and interventions needed—through the use of val-
idated risk and needs assessments—and then applying the results across
populations in order to ensure that the appropriate resources are available.
Once risk and needs are identified, only programs and strategies that have
been proven to work should be employed in addressing those risks and
needs. For example, research has amply demonstrated the effectiveness of
motivational interviewing and the use of options like cognitive-behavioral
treatment, which have been adopted in many jurisdictions.f There are still
many agencies, however, that have yet to integrate these and other prac-
tices into their supervision.

Making basic reentry tools available to everyone leaving confinement.
While challenged with high inmate turnover and heterogeneous popula-
tions, jails are nonetheless well-situated for reentry efforts. They typically
are located near the communities to which people in jail will return, making
outreach efforts easy to accomplish. Using a risk and needs assessment
instrument, jail reentry staff can work with community providers to develop
reentry plans for people leaving jail that target specific needs.g Jurisdic-
tions such as Douglas County in Kansas and Davidson County in Tennessee
have introduced case planning and evidence-based programming in jail,
and have developed networks of reentry providers that meet people while
they are still in jail, work with them to build their case plans, and meet them
on release day to assist with the transition home.h

Allowing debt payment plans. Professionals who supervise people in the
community, pretrial or post-conviction, understand the heavy burden of
criminal justice debt—which often drives many people back to jail—but
they lack the authority to adjust payments or provide relief in other ways.
Efforts to implement reforms in this area can face considerable resistance,
since fines and fees help to fund courts, pretrial services, jails, and com-




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                                               munity supervision. In jurisdictions where budgets are especially tight, the
                                               pressure to collect fees in full can be great.i Despite these challenges, some
                                               jurisdictions are making efforts to reduce criminal justice debt burdens.

                                               Community supervision agencies in South Carolina have the authority to
                                               restructure payment plans, stretching a person’s criminal justice debt over
                                               more years as a way to reduce monthly payments.j Washington State al-
                                               lows judges to waive the interest people have accrued on debt to the crim-
                                               inal justice system that is not restitution, where people show that the pay-
                                               ment of the accrued interest will cause hardship for them and their family,
                                               or if they have made a good faith effort to pay.k Maine allows community
                                               service in lieu of cash payments, and Ohio, West Virginia, and New York
                                               allow for modified child support payments following a period of incarcera-
                                               tion.l Even where such options exist, however, people may not know about
                                               them or be able to navigate the court process to take advantage of these
                                               rights—especially those who do not have a supervision agent in the com-
                                               munity from whom they can seek advice and assistance.
                                               a
                                                 Nancy LaVigne, et al, Justice Reinvestment Initiative State Assessment Report (Washington, DC:
                                               The Urban Institute, 2014).
                                               b
                                                 J. Ginn, Georgia Probation Program Lets Some Offenders Phone It In, (New York, NY: Council of
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                                               c
                                                 Ibid.
                                               d
                                                 For example see Peggy McGarry et al., The Potential of Community Corrections to Improve
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                                               e
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                                               h
                                                 Willison, et al., 2008.
                                               i
                                                 American Civil Liberties Union, In for a Penny: The Rise of America’s New Debtors Prisons, (New
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                                               Repaying Debts, (Washington, DC: Council of State Governments and the Bureau of Justice
                                               Assistance, 2007), 33; A. Bannon, M. Nagrecha, and R. Diller, Criminal Justice Debt: a Barrier to
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                                               j
                                                 South Carolina SB 1154 (2010).
                                               k
                                                 Washington SB 5423 (2011). This excludes restitution.
                                               l
                                                 West Virginia HB 4521 (2012); New York AB 8178 (2009); Maine HP 1032 (2013).




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  With or without formal supervision, people who have experienced lengthy
jail or prison stays need basic reentry support.130 Most immediate, people being
released from incarceration need valid identification cards—necessary to gain
them access to any benefits to which they may be entitled such as Medicaid—
and assistance with opening a bank account and applying for housing and job
opportunities. If those being released have chronic medical conditions, provid-
ing them with medications and referrals to medical care in the community are
fundamental to their functioning. Permanent housing, avenues to education,
and long-term employment come next. At the state level, corrections officials
are making significant efforts to address these reentry needs upon release, but
assistance at the local jail level is far more scarce.
  While many factors can diminish a person’s chances of successfully reenter-
ing the community, debt is one of the most toxic. Criminal justice fines and fees
follow people from jail and prison back into the community and, combined
with other financial burdens, can become a major barrier to finding and main-
taining employment, housing, family relationships, community ties, and stable
mental and physical health—the very conditions known to support success. In
some jurisdictions, non-payment of fines and fees results in immediate arrest
and additional jail time.131 There are accounts of people who deliberately skip
supervision appointments or miss court dates because they cannot pay their
fines, setting in motion a process that eventually will lead them back to jail.132
When fines and fees loom large, some people may actually choose to return to
jail rather than face their debts.133
  To end the cycling of people in and out of jail, jurisdictions are taking steps to
improve community supervision by better matching conditions of release to
assessed risk and relying on graduated responses to rule-breaking in place of
automatic jail time. Some jurisdictions have also made progress in developing
jail reentry resources, and a few jurisdictions are tackling through legislation the
issue of debt and the barriers it creates for people trying to get back on their feet.




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                                           Conclusion
                                           Jails matter. Yet against a national backdrop of declining crime rates, most of
                                           the debate about incarceration in recent years has focused on prisons. A signif-
                                           icant body of research shows that our reliance on incarceration as a primary
                                           crime control policy has had only a marginal impact on public safety. As a
                                           result, there is an emerging consensus that it has not been worth the fiscal and
                                           human costs. The role that local jails play in this story has not, until recently,
                                           garnered similar attention or analyses. That is starting to change and the new
                                           focus could not be timelier. With nearly 12 million annual admissions—almost
                                           19 times those to state and federal prisons—jails have an impact that is both
                                           far-reaching and profound.
                                             While jails serve an important function in local justice systems—primarily to
                                           hold people who are deemed, by reliable means, unlikely to appear in court or
                                           likely to reoffend if released while their cases are processed—this is no longer
The misuse of jails                        exclusively what jails are or whom they hold. With so many people cycling
                                           through them—some many times over—jurisdictions need to ensure that jails,
is neither inevitable                      while doing their part to keep the public secure, take seriously their responsibil-
                                           ity to treat those in their custody with dignity, in settings that are safe, healthy,
nor irreversible.                          and able to help people return quickly to their communities or adjust to serving
                                           their sentences elsewhere. As this report has documented, this is not necessari-
                                           ly what jails do today.
                                              The misuse of jails is neither inevitable nor irreversible. But to chart a dif-
                                           ferent course will take leadership and vision. No single decision or decision
                                           maker in a local justice system determines who fills the local jail. While some
                                           jurisdictions have made strides in developing, implementing, and evaluating
                                           off-ramps from the path that leads to the jailhouse door, change at one point
                                           in the system will have limited impact if other key actors and policies pull in
                                           the opposite direction. To both scale back and improve how jails are used in a
                                           sustainable way, localities must engage all justice system actors in collaborative
                                           study and action. Only in this way can jurisdictions hope to make the systemic
                                           changes needed to stem the tide of people entering jails and to shorten the stay
                                           for those admitted.




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     and Daniela Golinelli, Jail Inmates at Midyear 2013 - Statistical Tables              deputy county counsel, Monterey Park, CA, and Stephanie Jo Reagan,
     (Washington, DC: US Department of Justice, Office of Justice Programs,                principal deputy county counsel, Los Angeles County Department of
     Bureau of Justice Statistics, 2014), 6; for population data from the 2010             Mental Health, Los Angeles, CA, Re: Mental Health Care and Suicide
     census see U.S. Census Bureau, State and Country Quickfacts – Detroit,                Prevention Practices at Los Angeles County Jails, June 4, 2014.
     Michigan, http://quickfacts.census.gov/qfd/states/26/2622000.html,
     and U.S. Census Bureau, State and Country Quickfacts – San Francisco,             5   Doris J. James, Profile of Jail Inmates, 2002, (Washington, DC: U.S.
     California, http://quickfacts.census.gov/qfd/states/06/0667000.html.                  Department of Justice, Office of Justice Programs, Bureau of Justice
                                                                                           Statistics, 2004), 3.
2    For the 2013 jail admissions data see, Minton and Golinelli, 2014, 4;
     for population data from the 2010 census see U.S. Census Bureau,                  6   Approx. 20,000 of 43,000 people who were detained following
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     admissions to state and federal prisons, see E. Ann Carson, Prisoners             7   Traffic and vehicular charges made up 26 percent (161,000) of all charges.
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                                                                                           xv. This study was done prior to the enactment of the Public Safety
3    For comparison incarceration rates, see International Centre for Prison               Realignment Act (AB 109) of 2011 which transferred a large number of
     Studies, “World Prison Brief,”                                                        convicted felony offenders in state prison or on parole to the authority
     http://www.prisonstudies.org/highest-to-lowest/prison-population%20                   of California’s 58 counties. For recent research on the impact of AB 109
     total?field_region_taxonomy_tid=All&=Apply.                                           on jail populations, see Magnus Lofstrom and Steven Raphael, Impact of
                                                                                           Realignment on County Jail Populations (San Francisco, CA: Public Policy
4    Although not explicitly articulated in the Constitution, the presumption              Institute of California, 2013).
     of innocence is regarded as a crucial element of the constitutional right
     to due process under the law and “a basic component of a fair trial under         8   For example, at least 29 states have taken steps to reform mandatory
     our system of criminal justice.” See Estelle v. Williams, 425 U.S. 501, 503           penalties since 2000, and many more in the last few years have taken steps
     (1976). The primary import of this presumption today is the allocation                to expand community-based sentencing options, such as drug treatment
     of the burden of proof in criminal trials. See Bell v. Wolfish 441 U.S. 520,          probation programs targeting high-risk, previously prison-bound drug-
     533 (1979). According to this legal doctrine, prosecutors are required to             addicted offenders or reclassifying offenses by creating more gradation in
     prove guilt beyond a reasonable doubt. See Coffin v. United States, 156               felony levels per type of criminal offense or lowering low-level crimes from
     U.S. 432, 460 (1895) and Kentucky v. Whorton, 441 U.S. 786, 790 (1979)                felonies to misdemeanors. For more information regarding recent state
     (Stewart, J., dissenting). At common law, the presumption of innocence                sentencing and corrections reforms, see for example, Adrienne Austin,
     had a wider meaning. It also protected defendants during the time                     Criminal Justice Trends: Key Legislative Changes in Sentencing Policy,
     between charge and conviction, ensuring that most individuals would                   2001-2010 (New York, NY: Vera Institute of Justice, 2010); Lauren-Brooke
     remain at liberty prior to trial and that those individuals unable to make            Eisen and Juliene James, Reallocating Justice Resources: A Review of
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     for trial. See William Blackstone, Commentaries on the Laws of England,               Reconsider Mandatory Sentences (New York, NY: Vera Institute of Justice,
     Vol. IV, 297 (1765). Regarding the protections the presumption has                    2014); Ram Subramanian and Rebecka Moreno, Drug War Détente? A
     historically implied during the pretrial period, until relatively recently U.S.       Review of State-level Drug Law Reform (New York, NY: Vera Institute of
     law largely conformed with the common law, since bail was presumed                    Justice, 2014); and Ram Subramanian and Rebecka Moreno, Recalibrating
     in all non-capital cases. See Judiciary Act of 1798, 1 Stat. 73 §33 (1798).           Justice: A Review of 2013 State Sentencing and Corrections Trends (New
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     to post bail or due to a potential risk posed to the community—the                    DC: The Sentencing Project, 2014); and Nicole D. Porter, The State of
     presumption continues to protect against the consideration of pretrial                Sentencing 2012: Developments in Policy and Practice (Washington, DC:
     detention as evidence of guilt. See Wolfish, 441 U.S. at 533. For reports             The Sentencing Project, 2013).
     on jail conditions of confinement, see for example, Roy L. Austin, deputy
     assistant attorney general, U.S. Department of Justice, Civil Rights              9   For information about the impact of the fiscal crisis and low crime rates
     Division, to George Touart, interim county administrator, and Sheriff                 on sentencing and corrections, see Ram Subramanian and Rebecca
     David Morgan, Escambia County, Pensacola, FL, Re: Investigation of                    Tublitz, Realigning Justice Resources: A Review of Population and
     the Escambia County Jail, May 22, 2013; Grace Chung Becker, acting                    Spending Shifts in Prison and Community Corrections (New York, NY:
     assistant attorney general, U.S. Department of Justice, Civil Rights                  Vera Institute of Justice, 2012), 20. Also see Alison Shames and Michael
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                                                                                   photocopying, barber/hair care, bonding, escort/transportation, notary,
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   outcomes. One, as yet untested, hypothesis could be that detained               See Krauth and Stayton, 2005, pp. 7-35.
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   recidivate at higher rates when they receive overly-intensive supervision       New Debtors Prisons (New York, NY: American Civil Liberties Union,
   as compared to those who receive supervision matched to their assessed          2010), 6-8; and Council on State Governments, Repaying Debts
   risk. For research on assessed risk and intervention level, see D.A.            (Washington, DC: Council of State Governments and the Bureau of
   Andrews and James Bonta, The psychology of criminal conduct (Albany,            Justice Assistance, 2007), 7-8. Also see, A. Bannon, M. Nagrecha, and R.
   NY: Lexis Nexis/Anderson Pub. Research, 2010) on the negative impact            Diller, Criminal Justice Debt: a Barrier to Reentry (New York, NY: Brennan
   of high-intensity supervision and interventions with low- and medium-low        Center for Justice, 2010), 7-10.
   risk probationers and parolees.
                                                                                52 Bannon, Nagrecha, and Diller, 2010, p.10.
38 See Lowenkamp, VanNostrand, and Holsinger, 2013, p. 10-11; John
   S. Goldkamp, Two Classes of Accused: A study of Bail and Detention           53 Council on State Governments, Repaying Debts (Washington, DC:
   in American Justice (Cambridge, MA: Ballinger Pub. Co., 1979); and              Council of State Governments and the Bureau of Justice Assistance,
   Malcolm Feeley, The Process is the Punishment: Handling Cases in a              2007), 2.
   Lower Criminal Court, (New York: Russell Sage Foundation, 1979). For
   a comprehensive review of current research, see Jeffrey David Manns,         54 In addition, more and more employers are conducting criminal
   Liberty Takings: a Framework for Com[p]ensating Pretrial Detainees              background checks as part of their hiring processes. Some surveys
   (Cambridge, MA: Harvard Law School, John M. Olin Center for Law,                suggest that 90 percent of employers conduct such checks, and they are
   Economics, and Business, 2005); and The Pretrial Justice Institute,             not always limited to convictions. NELP found that in one survey, over 90
   Rational and Transparent Bail Decision Making: Moving From a Cash-              percent of employers reported requiring criminal background checks as
   Based to a Risk-Based Process, (Washington, DC, Pretrial Justice                a part of hiring decisions. They may also inquire about previous arrests
   Institute/MacArthur Foundation 2012).                                           or criminal charges, regardless of the outcome. See Michelle Natividad
                                                                                   Rodriguez and Maurice Emsellem, 65 Million Need not Apply: The Case
39 Goldkamp, 1979; Feeley, 1979; and Manns, 2005.                                  for Reforming Criminal Background Checks for Employment (Washington,
                                                                                   DC: The National Employment Law Project, 2011), 1.
40 For racial breakdowns of jail populations, see Minton and Golinelli, 2014,
   p. 6. For racial breakdowns of the general population, see U.S. Census       55 Bannon, Nagrecha, and Diller, 2010, p.13.
   QuickFacts, http://quickfacts.census.gov/qfd/states/00000.html.
                                                                                56 See American Civil Liberties Union, 2010, p. 5; Council on State
41 For the example of New York City, see Jeffrey Fagan and Garth Davies,           Governments, 2007 p. 3; Bannon, Nagrecha, and Diller, 2010, pp. 19-26;
   “Street Stops and Broken Windows: Terry, Race, and Disorder in New              Douglass Evans, The Debt Penalty—Exposing the Financial Barriers to
   York City,” Fordham Urban Law Journal 28, no.2 (2000): 457-464.                 Offender Reintegration (New York, NY: Research and Evaluation Center,
                                                                                   John Jay College of Criminal Justice, City University of New York, 2014), 1.
42 Marc Mauer and Nazgol Ghandnoosh, Incorporating Racial Equity into
   Criminal Justice Reform (Washington, DC: The Sentencing Project, 2014),      57 Bearden v. Georgia, 461 U.S. 660, 668-69 (1983).
   6-7.
                                                                                58 Bruce Western and Becky Pettit, Collateral Costs: Incarceration’s Effect on
43 For research demonstrating that schools in minority neighborhoods are           Economic Mobility (Washington, DC: the Pew Charitable Trusts, 2010), 11.
   more likely to have law enforcement officers on site, see Aaron Kupchik
   and Geoff Ward “Race, Poverty, and Exclusionary School Security: An          59 When an individual enrolled in Medicaid is detained, the majority of
   Empirical Analysis of US Elementary, Middle, and High Schools,” Youth           states terminate Medicaid benefits, despite federal guidance that
   Violence and Juvenile Justice 12, no. 4 (2013): 332-354; and Allison            allows for the suspension of Medicaid for individuals involved in the
   Ann Payne and Kelly Welch, “Modeling the Effects of Racial Threat on            criminal justice system whose eligibility for the program is not linked
   Punitive and Restorative School Discipline Practices,” Criminology 48, no.      to Supplemental Security Income. See Anita Cardwell and Meaghan
   4 (2010): 1019-1062.                                                            Gilmore, County Jails and the Affordable Care Act: Enrolling Eligible
                                                                                   Individuals in Health Coverage (Washington, DC: National Association of
44 For information about stop and frisk practices in New York, see Jennifer        Counties, 2012), 3.
   Fratello, Andres Rengifo, and Jennifer Trone, Coming of Age in the Era of
   Stop and Frisk (New York, NY: Vera Institute of Justice, 2013).              60 Each federal program has different eligibility criteria in relation to prison
                                                                                   or jail stays. See Social Security Administration, What Prisoners Need to
45 Mauer and Ghandnoosh, 2014, pp. 6-7.                                            Know (Washington, DC: Social Security Administration, 2010),
                                                                                   http://www.ssa.gov/pubs/EN-05-10133.pdf;
46 Robert Brame, Shawn Bushway, Ray Paternoster, Michael Turner,                   U.S. Department of Veterans Affairs, “Incarcerated Veterans,”
   “Demographic Patterns of Cumulative Arrest Prevalence by Ages 18 and            http://www.benefits.va.gov/persona/veteran-incarcerated.asp .
   23,”Crime and Delinquency, 60(3), (2014), 1.




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61 See Corrinne A. Carey, No second chance: People with criminal records         72 Todd R. Clear, Imprisoning communities: How mass incarceration makes
   denied access to public housing (New York, NY: Human Rights Watch,               disadvantaged neighborhoods worse (Oxford: Oxford University Press,
   2004), 3, http://www.hrw.org/reports/2004/usa1104/usa1104.pdf; and               2007).
   Stephen Metraux, Caterina Roman, and Richard Cho, “Incarceration and
   Homelessness,” (Washington DC: National Symposium on Homelessness             73 James Austin and Michael Jacobson, How New York City Reduced Mass
   Research, 2007), 9.                                                              Incarceration: A Model for Change? (New York, NY: Vera Institute of
                                                                                    Justice, 2013), 25.
62 A survey found that 63 percent of homeless formerly incarcerated
   people in Baltimore, MD surveyed had owned or rented a home prior to          74 State laws allow citation and release primarily in response to traffic
   incarceration, but only 29 percent owned or rented a home after release.         violations, infractions, low-level misdemeanors, and sometimes low-level
   The survey does not distinguish between jail and prison, but notes that          felonies. Louisiana, Oregon, and New York, for example, offer this for
   41 percent of respondents were incarcerated for a year or less. See              some felonies. Both state laws and departmental policies range widely
   Center for Poverty Solutions, Barriers to Stability: Homelessness and            in terms of presuming or allowing this practice. There are states and/or
   Incarceration’s Revolving Door in Baltimore City (Baltimore, MD: Open            municipalities, for example, that list specific crimes for which a citation
   Society Foundations, 2003), 14-15.                                               is the presumed response, absent mitigating circumstances, while
                                                                                    others provide no guidance at all. See National Conference of State
63 See Greg A. Greenbergand and Richard Rosenheck, “Jail Incarceration,             Legislatures, Citation in Lieu of Arrest (2013)
   Homelessness, and Mental Health: A National Study,” Psychiatric
   Services 59, no. 2 (2008): 170-177; National Association of Counties,         75 Ibid. With varying degrees of formality, officers consider an array of
   Corporation for Supportive Housing, Supportive Housing for Justice-              factors, including whether the suspect seems to pose a danger to
   Involved Frequent Users of County Public Systems (Washington, DC.:               persons or property and the person’s criminal record, including any
   National Association of Counties, 2013), 3.                                      outstanding warrants; whether or not the suspect and any family
                                                                                    members reside locally and the suspect’s employment status and
64 More than half (53 percent) of female jail inmates reported having a             other possible ties to the community as indicators of the likelihood
   current medical problem, compared to about a third (35 percent) of male          that the person will appear in court; and whether the suspect is under
   jail inmates. See Laura M. Maruschak, Medical Problems of Jail Inmates,          the influence of drugs or alcohol or appears to be mentally ill. See for
   (Washington, DC: U.S. Department of Justice, Bureau of Justice Statistics,       example, Mary T. Phillips, The Past, Present , and Possible Future of Desk
   2006), 1, http://www.bjs.gov/content/pub/pdf/mpji.pdf.                           Appearance Tickets in New York City, (New York: New York City Criminal
                                                                                    Justice Agency, 2014). In some small jurisdictions, the police may also
65 See Richard G Frank and Sherry A. Glied, Better But Not Well: Mental             require the person to post a small amount of bail to create an incentive
   Health Policy in the United States since 1950 (Baltimore, MD: Johns              for the person to appear in court for arraignment.
   Hopkins University Press, 2006); Kathleen N. Ly et al., “The increasing
   burden of mortality from viral hepatitis in the United States between         76 The practice of “for-profit” or “quota” policing can result in unlawful
   1999 and 2007,” Annals of Internal Medicine 156, no. 4 (2012): 271-278;          stops, summonses, and arrests. Quotas are requirements that an officer
   Jessica R. MacNeil, Mark N. Lobato, and Marisa Moore, “An unanswered             issue a certain number of violations within a specific timeframe and are
   health disparity: tuberculosis among correctional inmates, 1993 through          sometimes imposed to accrue court fines and fees from defendants to
   2003,” American Journal of Public Health 95 no. 10 (2005): 1800;                 help reduce budgetary deficits in cities or counties. See for example,
   Marushka L. Silveira, 2006, p. 1.                                                New York Civil Liberties Union report “NYCLU Lawsuit Challenges
                                                                                    Primitive Quota System in Bronx Precinct” (New York, NY: New York
66 Nicholas Freudenberg, “Jails, prisons, and the health of urban                   Civil Liberties Union, 2012), http://www.nyclu.org/news/nyclu-lawsuit-
   populations: A review of the impact of the correctional system on                challenges-punitive-quota-system-bronx-precinct. While it still remains
   community health” Journal of Urban Health: Bulletin of the New York              a practice in some jurisdictions, there has been much investigation and
   Academy of Medicine 78, no. 2 (2011): 214–235.                                   litigation in jurisdictions across the United States, including in Georgia,
                                                                                    New Jersey, Illinois, and New York, regarding the illegality of violations
67 Dora M. Dumont et al., “Public health and the epidemic of incarceration,”        and ticket quotas. See for example, Fraternal Order of Police, Lodge
   Annual Review of Public Health 33 (2012): 331-333; Andrew P. Wilper et           1 v City of Camden, Civ. No 10-1502 (D.N.J. Sep. 26, 2013); Plaintiff’s
   al., “The health and health care of US prisoners: results of a nationwide        Complaint, Craig Matthews v City of New York, Raymond Kelly, 12
   survey,” American Journal of Public Health 99, no. 4 (2009): 666-672; Sasha      Civ.1354 (S.D.N.Y. filed Feb. 23, 2012).
   Abramsky and Jamie Fellner, Ill-Equipped: US Prisons and Offenders with
   Mental Illness (New York: Human Rights Watch, 2003), 16, 22, 40.              77 For research on civil forfeiture, see Marian R. Williams, Jefferson E. Holcomb,
                                                                                    Tomislav V. Kovandzic, and Scott Bullock, Policing for Profit: The Abuse of
68 Nicholas Freudenberg, Jessie Daniels, Martha Crum, Tiffany Perkins,              Civil Asset Forfeiture (Washington, DC: Institute for Justice, March 2010)
   and Beth E. Richie, “Coming Home From Jail: The Social and Health                http://www.ij.org/policing-for-profit-the-abuse-of-civil-asset-forfeiture-4;
   Consequences of Community Reentry for Women, Male Adolescents, and               J. Worrall, and T. Kovandzic, “Is Policing For Profit? Answers from Asset
   Their Families and Communities,” American Journal of Public Health. 95           Forfeiture” Criminology and Public Policy 7 (2008): 219-244; and John L.
   (2005): 1725.                                                                    Worrall, “Addicted to the Drug War: The Role of Civil Asset Forfeiture
                                                                                    as Budgetary Necessity in Contemporary Law Enforcement” Journal of
69 In 2005, 79 percent of women in jail were mothers, with nearly 250,000           Criminal Justice 29 (2001): 171–187. For an example of press coverage
   children between them. See Susan McCampbell, The Gender-Responsive               about Missouri, see Radley Balko, “How Municipalities in St. Louis County,
   Strategies Project: Jail Applications (Washington, DC: National Institute        MO., Profit From Poverty,” Washington Post, September 3, 2014.
   of Corrections, US Department of Justice, 2005), 2, 4.
                                                                                 78 Authors’ calculation from Bureau of Justice Statistics, Jail Inmates 1984
70 Steve Christian, Children of Incarcerated Parents (Washington, DC:               (Washington, DC: US Department of Justice, Bureau of Justice Statistics,
   National Council of State Legislatures, 2009), 5.                                1986), 2; and Snyder and Mulako-Wangota, 2013. In 1983 there were
                                                                                    11.7 million arrests and 6 million jail admissions.
71 Todd Clear’s research looks at the impact of incarceration on communities,
   including high rates of community members in both jail and prison. Todd R.    79 Authors’ calculation from Minton and Golinelli, 2014, p. 4; and Snyder
   Clear, “The Effects of High Imprisonment Rates on Communities,” Crime            and Mulako-Wangota, 2013. In 2012 there were 12.2 million arrests and
   and Justice 37, no. 1 (2008): 97-132, 114-117. Also see Andrew Petteruti         11.6 million jail admissions.
   and Nastassia Walsh, Jailing Communities: The Impact of Jail Expansion
   and Effective Public Safety Strategies (Washington DC: Justice Policy         80 For the analysis of 17 state courts, see Robert LaFountain et al.,
   Institute, 2008), 18-20; and Nancy G. La Vigne, Pamela Lachman, Shebani          Examining the Work of State Courts: An Analysis of 2010 State Court
   Rao, Andrea Matthews. Stop and Frisk: Balancing Crime Control with               Caseloads (Washington DC: National Center for State Courts, 2012),
   Community Relations (Washington, DC: Urban Institute, 2014): 20-21.              24. For the analysis of misdemeanor arrests in New York City, see Preeti




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     Chauhan et al., Trends in Misdemeanor Arrests in New York (New York:        86 National Association of Pretrial Services Agencies, Promising Practices
     John Jay College of Criminal Justice, 2014).                                   in Pretrial Diversion (Washington, DC: National Association of Pretrial
                                                                                    Services Agencies, 2010).
81 The arrest rate for drug crimes peaked in 2006. See Howard N. Snyder
   and Joseph Mulako-Wangota, Bureau of Justice Statistics. With                 87 Broadly, bail refers to conditions put upon an accused person to
   underlying data from the FBI’s Uniform Crime Reporting (UCR) Program,            ensure that, if released from custody, he or she reappears for trial. See
   U.S. drug arrest estimates were generated using the Arrest Data Analysis         Stack v. Boyle, 342 U.S. 1, 4 (1951) (“The right to release before trial is
   Tool at http://www.bjs.gov.                                                      conditioned upon the accused’s giving adequate assurance that he will
                                                                                    stand trial and submit to sentence if found guilty.”) While the Eighth
82 The U.S. Constitution affords defendants adversarial safeguards in               Amendment prohibits excessive bail, the Constitution does not create
   criminal proceedings including a timely judicial determination of probable       an absolute right to bail. See United States v. Salerno, 481 U.S. 739,
   cause as a pre-requisite to detention under the Fourth Amendment.                754-55 (1987). Presently, there is a presumption towards releasing people
   See Gerstein v. Pugh, 420 U.S. 103, 114 (1975). Similarly, under the             pending trial. However, if an individual is deemed to pose a safety risk
   Sixth Amendment the Court found that there must be a reasonable                  or flight risk, then pretrial detention is allowed. See Salerno, 418 U.S. at
   time between arrest and arraignment. See Barker v. Wingo, 407 U.S.               751 (Government’s interest in public safety can outweigh an individual’s
   514, 530-31 (1972). These holdings have been codified under Federal              liberty interest.) The decision whether or not to release a defendant is
   Rule of Criminal Procedure 5.1, which states that a person arrested in           usually made first at arraignment or another initial court appearance, and
   the United States must be presented “without unnecessary delay” to               can be revisited multiple times during the movement of a case through
   a magistrate or judge. See Fed. Rules Cr. Proc. Rule 5, 18 U.S.C.A.,             the courts.
   FRCRP Rule 5. The Supreme Court subsequently found that in order to
   satisfy Gerstein’s promptness requirement, a jurisdiction that chooses to     88 For example, under Federal bail law, see 18 U.S.C. § 3142, as amended
   combine probable cause determinations with other pretrial proceedings            in 1984, courts can deal with an individual charged with a crime pending
   must do so as soon as is reasonably feasible, but no later than 48 hours         trial in several ways. If a judicial officer can determine that the individual
   after arrest. See County of Riverside v. McLaughlin, 500 U.S. 44, 56             doesn’t pose a safety or flight risk, the individual should be released
   (1991). States that combine “probable cause determinations” with initial         upon his or her own recognizance, or after promising to pay money for
   court appearances have interpreted “unnecessary delay” to mean no                failure to appear: see § 3142(b). Second, if the judicial officer feels more
   more than 48 hours. See Pen C §825; CCP §§134-135; Govt C §§6700,                safeguards are necessary to ensure either the individual’s reappearance
   6706; People v Lee 3 CA3d 514, 521 (1970). Despite the Supreme                   or to ensure the safety of the community, the court can impose further
   Court’s 48 hour mandate, many jurisdictions provide a 72-hour window             conditions (for example, compliance with a curfew, electronic monitoring,
   for arraignment. Typically state statutes do not permit law enforcement          or prohibitions on firearm possession): see § 3142(c). Determinations for
   to detain a person for more than 72 hours before arraignment and others          either outcome are made by considering the nature of the offense, the
   comport with the Supreme Court mandate of 48 hours and some even                 weight of evidence against the individual, the history and character of
   fewer. For example, in New York and Washington, DC, statute requires             the individual, and whether the individual poses a significant risk to the
   24 hours and in California legislature interprets “unnecessary delay” as         community: see § 3142(g). Alternatively, an individual may be temporarily
   no more than 48 hours, not including holidays. See Kimyetta R. Robinson,         detained in order to facilitate the revocation of any other conditional
   From Arrest to Appeal: A Guide to Criminal Cases in The New York State           release he or she may be under—for example, if the individual is on
   Courts (New York, NY: The Fund for Modern Courts, 2005), 12; also see            probation, parole, or awaiting trial for another offense: see § 3142(d).
   Washington, DC Super. Ct. R. Crim. P. 5(c).—a defendant has the right to         However, temporary detainment is only triggered if an individual poses a
   an immediate probable cause determination; Pen C §825; CCP §§134-                flight or safety risk: see § 3142(d)(2). Finally, only some individuals can be
   135; Govt C §§6700, 6706. People v Lee 3 CA3d 51 (1970). However,                detained until trial. Those charged with crimes of violence, certain drug
   while courts have found that unreasonable pre-arraignment detention is           offenses, certain repeat offenses, and offenses carrying maximum life
   unconstitutional, there is no remedy for the violation.                          sentences trigger the ability for the court to hold a hearing to determine
                                                                                    whether indefinite detention is warranted: see § 3142(f). Additionally,
83 See Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978), “In our system,            individuals whose pose a significant flight risk or are likely to obstruct
   so long as prosecutor has probable cause to believe that the accused             justice or threaten witnesses are also eligible for indefinite detention.
   committed offense defined by statute, decision whether to prosecute,             Ibid. Typically, at the hearing, the government must show, by clear and
   and what charge to file or bring before a grand jury, and generally              convincing evidence, that no conditions of release can reasonably assure
   rests entirely in his discretion.” However, “a prosecutor should remain          the safety of the community. However, certain charges—including certain
   free before trial to exercise the broad discretion entrusted to him              drug offenses, certain acts of terrorism, and many offenses involving a
   to determine the extent of the societal interest in prosecution.” See            minor victim—carry a presumption of detention that the defendant must
   U.S. v. Goodwin, 457 U.S. 368 (1982). Also see, for example, Hassan              rebut: see § 3142(e). At the state level, bail laws vary. For an overview of
   v Magistrates Court, 191 N.Y.S. 2nd 238, 243 (Sup. Ct. 1959), “Just              differences among state bail laws, see Pretrial Justice Institute’s “Matrix
   because a crime has been committed, it does not follow that there                of Bail Laws,” http://www.pretrial.org/wpfb-file/matrix-of-state-bail-laws-
   must necessarily be a prosecution for it lies with the district attorney to      april-2010-pdf/.
   determine whether the acts which may fall within the literal letter of the
   law should as a matter of public policy not be prosecuted.” Additionally,     89 Minton and Golinelli, 2014, p.1.
   recognizing the prosecution’s broad enforcement and discretionary
   power, the American Bar Association created a rule in its Model Rules         90 Pheny Z. Smith, Felony Defendants in Large Urban Counties, 1990
   for Professional Responsibility to guide prosecutors’ duties. See Model          (Washington, DC: Bureau of Justice Statistics, Department of Justice,
   Rules of Professional Conduct Rule 3.8 (2005).                                   1993), 8; and Brian A. Reaves, Felony Defendants in Large Urban
                                                                                    Counties, 2009-Statistical Tables (Washington, DC: Bureau of Justice
84 For examples of recent state reforms that expand deferred prosecution            Statistics, Department of Justice, 2013), 1.
   programs out of concern about collateral consequences of criminal
   convictions see Ram Subramanian and Rebecka Moreno, Relief in Sight?          91 Reaves, 2013, p.15.
   States Rethink the Collateral Consequences of Criminal Conviction, 2009-
   2014 (New York, NY: Vera Institute of Justice, 2014).                         92 Ibid.

85 For information on the history of risk assessment in criminal justice, see    93 Ibid. A surety bond is an agreement between the court and a third
   D.A. Andrews, James Bonta, and J. Stephen Wormith, “The Recent Past              person (the surety) to pay a certain amount if the defendant named in the
   and Near Future of Risk and/or Need Assessment,” Crime & Delinquency             agreement fails to appear in court. The bond may be secured, requiring
   52, no. 1 (2006): 7-27.                                                          an actual payment of the sum or some portion of it in court pending the
                                                                                    appearance of the defendant, or unsecured, requiring only the promise
                                                                                    to pay if the defendant doesn’t appear. Private surety agents, known as
                                                                                    bail bondsmen, charge a nonrefundable fee in exchange for paying or




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    promising to pay the amount necessary to get someone out of jail. They           112 A recent New Yorker essay tells the story of one young man who
    may also require some kind of collateral from the defendant that will be             spent three years in jail, missing both his junior and senior years in
    forfeited if he or she fails to show up for court dates. Some states, most           high school and insisting on his innocence, before the Bronx district
    recently Kentucky, have outlawed private for-profit sureties.                        attorney dismissed the charges against him. See Jennifer Gonnerman,
                                                                                         “Before the Law: A boy was accused of taking a backpack. The courts
94 Reaves, 2013, p. 19; Brian A. Reaves and Paul Smith, Felony Defendants                took the next three years of his life,” The New Yorker, October 6, 2014.
   in Large Urban Counties, 1992 (Washington, DC: Bureau of Justice                      According to a New York Times investigation, he is just one of many
   Statistics, Department of Justice, 1995), 20. The 1992 mean bail ($25,400)            defendants whose cases are stalled in the Bronx courts. See William
   is shown in 2009 dollars.                                                             Glaberson, “Faltering Courts Mired in Delays,” The New York Times,
                                                                                         April 13, 2013, http://www.nytimes.com/2013/04/14/nyregion/justice-
95 See Marion Katsive, New Areas for Bail Reform: A Report on the                        denied-bronx-court-system-mired-in-delays.html. Also see William
   Manhattan Bail Reevaluation Project (New York, NY: Vera Institute of                  Glabeerson’s four-part report, “Justice Denied: Inside the Bronx’s
   Justice, 1968). See generally Kristin Bechtel, Christopher T. Lowenkamp               Dysfunctional Court System,” The New York Times, April 13, 14, 15 and
   and Alex Holsinger, “Identifying the Predictors of Pretrial Failure: A                30, 2013.
   Meta-Analysis” Federal Probation 75, no. 2 (2011).
                                                                                     113 Marie VanNostrand, New Jersey Jail Population Analysis: Identifying
96 Bechtel, Lowenkamp, and Holsinger, 2011, pp.1-2.                                      Opportunities to Safely and Responsibly Reduce Jail Population
                                                                                         (Trenton, NJ: Drug Policy Alliance, 2013), 14.
97 Melissa Neal, Bail Fail: Why the U.S. Should End the Practice of Using
   Money for Bail (Washington, DC: Justice Policy Institute, 2012), 3-4, 21-22.      114 See note 80. Also, see Jenny Roberts, “Crashing the Misdemeanor
                                                                                         System,” Washington and Lee Law Review 70 (2013) and Jenny Roberts,
98 Reaves, 2013, pp. 15, 20.                                                             “Why Misdemeanors Matter: Defining Effective Advocacy in Lower
                                                                                         Criminal Courts,” U.C. Davis Law Review 45 (2011).
99 Donna Makowiecki and Thomas Wolf, “Enter...Stage Left...U.S. Pretrial
   Services,” Federal Probation 71, no. 2: 7-9; also see William Henry, “The         115 The Bronx Defenders Fundamental Fairness Project, No Day in Court:
   Pretrial Services Act: 25 Years Later,” Federal Probation 71, no. 2 (2007): 16.       Marijuana Possession Cases and the Failure of the Bronx Criminal
                                                                                         Courts (Bronx, NY: The Bronx Defenders, 2013).
100 Bechtel, Lowenkamp and Holsinger, 2011.
                                                                                     116 After arraignment, for example, a criminal case will typically include a
                                                                                         preliminary meeting between the two sides to see whether the case can
101 For example, see the Los Angeles County 2011 Felony Bail Schedule,
                                                                                         be resolved short of having a trial. For felonies, in some jurisdictions a
    http://www.metalaw.us/resource/Bail%20Schedule_Infractions_
                                                                                         grand jury will be convened to examine the evidence and determine
    Misdemeanors.pdf; and see Pretrial Justice Institute, Rational and
                                                                                         whether charges should be brought. There will also likely be pretrial
    Transparent Bail Decisions: Moving from a Cash-based to a Risk-based
                                                                                         hearings, some which will deal with procedural or constitutional issues
    Process (Washington, DC: Pretrial Justice Institute, 2012) 18-42; Michael
                                                                                         related to the evidence procured by law enforcement and depending
    R. Jones, Unsecured Bonds: The As Effective and Most Efficient Pretrial
                                                                                         on the outcome, a judge may decide to alter course. The judge may
    Option (Washington, DC: Pretrial Justice Institute, 2013).
                                                                                         require more information, another hearing, may bind the case over
                                                                                         on different charges, or reduce or dismiss the charges. If convicted,
102 Timothy Schnacke, Money as a Criminal Justice Stakeholder: The Judge’s
                                                                                         there is usually a gap in time between conviction and sentencing, in
    Decision to Release or Detain a Defendant Pretrial (Washington, DC:
                                                                                         part because the sentencing judge may require a report about the
    National Institute of Corrections, U.S. Department of Justice, 2014) 30-39.
                                                                                         defendant to inform the sentencing decision—a report that is typically
                                                                                         put together by the court’s probation department Sometimes the victim
103 Reaves, 2013, p. 15.                                                                 and character witnesses might be called to the judge in determining an
                                                                                         appropriate sentence.
104 Ibid.
                                                                                     117 Vera Institute of Justice, Los Angeles County Jail Overcrowding
105 13,352 felony defendants (including remands) and 10,868 non-felony                   Reduction Project (2011), 71.
    defendants were not released prior to disposition. 3,407 non-felony
    defendants with bonds of $500 or less were not released prior to                 118 See note 121. Also, ibid, p. 70.
    disposition. See New York Criminal Justice Agency, New York Criminal
    Justice Agency Annual Report (New York: Criminal Justice Agency,
                                                                                     119 See William Glaberson for example, “For 3 Years After Killing, Evidence
    2013), 30.
                                                                                         Fades as a Suspect Sits in Jail,” The New York Times April 15, 2013
                                                                                         http://www.nytimes.com/2013/04/14/nyregion/justice-denied-bronx-
106 Frierburger and Hilinski, 2010, p. 330.                                              court-system-mired-in-delays.html.

107 Ibid.                                                                            120 More than 97 percent of federal convictions and 94 percent of state
                                                                                         convictions are the result of guilty pleas. See Bureau of Justice
108 Jamie Fellner, The Price of Freedom: Bail and Pretrial Detention of Low              Statistics, Sourcebook of Criminal Justice Statistics Online, Table
    Income Nonfelony Defendants in New York City (New York, NY: Human                    5.22.2010, http://www.albany.edu/sourcebook/pdf/t5222010.pdf;
    Rights Watch, 2010), 27-30.                                                          and S. Rosenmerkel, M. Durose, and D. Farole, Felony Sentences
                                                                                         in State Courts, 2006–Statistical Tables (Washington, DC: Bureau
109 Vera Institute of Justice, Los Angeles County Jail Overcrowding                      of Justice Statistics, 2009), 1; also see Lindsey Devers, Plea and
    Reduction Project, 68.                                                               Charge Bargaining: Research Summary (Washington, DC: Bureau of
                                                                                         Justice Assistance, 2011), 1. For a brief discussion on the relative
110 Ibid.                                                                                power prosecutors have in plea bargaining see Rodney J. Uphoff,
                                                                                         “The Criminal Defense Lawyer As Effective Negotiator: A Systemic
111 The Sixth Amendment of the U.S. Constitution provides that in                        Approach” Clinical Law Review 2 (1995): 73, 88-89 & n. 63 (1992).
    “all criminal prosecutions, the accused shall enjoy the right to a
    speedy trial.” This same protection is also embodied in the Fourteen             121    See for example People v. Llovet, N.Y.LJ., Apr. 24, 1998 (Kings
    Amendment’s due process clause. In 1974, the Speedy Trial Act 18                       Cty. Crim. Ct.) which found that “many of the pleas of guilty to
    U.S.C. §§ 3161-3174— later amended in 1979— set forth time limits for                  misdemeanors were by defendants who could achieve their freedom
    completing federal prosecutions providing for dismissal of the criminal                only by pleading guilty. (Plead guilty and get out, maintain your
    action if there are delays without good cause. Each state has its own                  innocence and remain incarcerated in lieu of bail.) Thus if all defendants
    speedy trial provision, embodied in legislation, court rulings, or both.               had the economic wherewithal to make bail, it is clear that many




                                                                                                                              VERA INSTITUTE OF JUSTICE          53
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     fewer…would plead guilty to misdemeanors.” Also see Gerard E.                131 American Civil Liberties Union, 2010, p. 73; and Bannon, Nagrecha, and
     Lynch, “Our Administrative System of Criminal Justice,” Fordham Law              Diller, 2010, p. 11. See also Alexes Harris, Heather Evans, and Katherine
     Review 66 (1998): 2117, 2146 (“Pleading guilty at the first opportunity in       Beckett, “Drawing blood from stones: Legal debt and social inequality
     exchange for a sentence of ‘time [already] served’ is often an offer that        in the contemporary United States,” American Journal of Sociology, 115
     cannot be refused.”)                                                             no. 6 (2014): 1782-1785; and Douglas Evans, Douglas, The Debt Penalty
                                                                                      — Exposing the Financial Barriers to Offender Reintegration (New York,
122 James J. Stephan and Louis W. Jankowski, Jail Inmates, 1990,                      NY: Research & Evaluation Center, John Jay College of Criminal Justice,
    (Washington, DC: US Department of Justice, Office of Justice Programs,            City University of New York, 2014), 8-9.
    Bureau of Justice Statistics, 1991), 2.
                                                                                  132   American Civil Liberties Union, 2010, p. 22. Bannon, Nagrecha, and
123 Minton and Golinelli, 2014, p.7.                                                    Diller, 2010, p. 24.

124 See Subramanian and Moreno, 2014, p. 11.                                      133 Ibid, p. 23.

125 For a discussion of treatment matching and dosage strategies that
    incorporate criminogenic risk and needs assessments, see April
    Pattavina and Faye S. Taxman, Simulation strategies to reduce
    recidivism: Risk need responsivity (RNR) modeling for the criminal
    justice system (New York, NY: Springer, 2013).

126 These strategies have not been without criticism. Advocates for health-
    based approaches to addiction argue that drug courts have made the
    criminal justice system more punitive toward addiction by penalizing
    relapse with incarceration and dropping from programs those who
    are not able to abstain from drug use for a sufficient period of time
    as determined by a judge. See Drug Policy Alliance, Drug Courts Are
    Not the Answer: Toward a Health-Center Approach to Drug Use (New
    York, NY: Drug Policy Alliance, 2011), 16. Critics have also pointed
    to a phenomenon known as ‘net widening,’ which refers to “well-
    meaning police officers and prosecutors arrest[ing] and charg[ing]
    more offenders under the assumption that something worthwhile could
    happen to such offenders once they were in the penal system and
    eligible for drug court rehabilitation,” Joel Gross, “The Effects of Net-
    Widening on Minority and Indigent Drug Offenders: A Critique of Drug
    Courts,” University of Maryland Law Journal of Race, Religion, Gender
    and Class 10 (2010): 161, 167. They note that many of those individuals
    are low-level offenders—often with no criminal record and no record
    of addiction—who might have otherwise not been brought into the
    system. See Eric Miller, “Drug Courts and Judicial Interventionism,”Ohio
    State Law Journal 65 (2004): 1483, 1569. Mental health advocates have
    put forth similar arguments regarding mental health courts. See, e.g.,
    Susan Stefan & Bruce J. Winick, “A Dialogue on Mental Health Courts,”
    Psychology, Public Policy & Law 11 (2005): 507.

127 Christopher T. Lowenkamp and Edward J. Latessa, “Understanding the
    Risk Principle: How and Why Correctional Interventions Can Harm Low-
    Risk Offenders,” Topics in Community Corrections, Annual Issue (2004).

128 See Peggy McGarry et al., The Potential of Community Corrections to
    Improve Safety and Reduce Incarceration (New York, NY: Vera Institute
    of Justice, Center on Sentencing and Corrections, July 2013), 12. See
    also, Lowenkamp and Latessa, 2004.

129 McGarry et al., 2013, pp. 15-19.

130 For information about jail reentry challenges, see Talia Sandwick et al.,
    Making The Transition: Rethinking Jail Reentry in Los Angeles County
    (New York, NY: Vera Institute of Justice, 2013); Amy L. Solomon et
    al., Life After Lockup: Improving Reentry from Jail to the Community
    (Washington, DC: Urban Institute Justice Policy Center, 2008); Jim
    Parsons, “Addressing the Unique Challenges of Jail Reentry” in
    Offender Reentry: Rethinking Criminology and Criminal Justice, edited
    by Matthew S. Crow and John Ortiz Smykla (Burlington, MA: Jones &
    Bartlett Learning, 2014).




54      INCARCERATION’S FRONT DOOR: THE MISUSE OF JAILS IN AMERICA
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addressing disproportionate impact on low-income individuals and communities
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